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13
14                             UNITED STATES DISTRICT COURT

15                         SOUTHERN DISTRICT OF CALIFORNIA
16
     JAMES MILLER, et al.,                              Case No. 3:19-cv-01537-BEN-JLB
17
                                                        Hon. Roger T. Benitez
18 Plaintiffs,
19 vs.                                                  DECLARATION OF JOHN LOTT
                                                        IN SUPPORT OF PLAINTIFFS’
20                                                      MEMORANDUM IN OPPOSITION
   XAVIER BECERRA, in his official                      TO DEFENDANTS’ DAUBERT
21
   capacity as Attorney General of California,          MOTION TO PRECLUDE
22 et al.,
                                                        TESTIMONY OF JOHN R. LOTT
23                                                      JR.
     Defendants.
24
                                                         Hearing Date: February 3, 2021
25                                                       Time: 10:00 a.m.
26                                                       Courtroom 5A
                                                         Judge: Hon. Roger T. Benitez
27
28                                                       Trial Date: February 3, 2021

          DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                              MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                             (CASE NO. 3:19-CV-01537-BEN-JLB)
 1                            DECLARATION OF JOHN LOTT, JR.
 2
     I, John R. Lott, Jr., declare as follows:
 3
             I am not a party to the captioned action, am over the age of 18, have personal
 4
     knowledge of the facts stated herein, and am competent to testify as to the matters
 5
     stated and the opinions rendered below.
 6
 7    1.       I make this declaration in support of Plaintiffs’ Memorandum In Opposition
 8 To Defendants’ Daubert Motion To Preclude Testimony of John R. Lott, Jr.
 9
      2.       Attached hereto as Exhibit 1 is a true and correct copy of John R. Lott Jr.,
10
     Crime Prevention Research Center, “Response to DeFilippis And Hughes Review Of
11
     The War On Guns,” August 30, 2016, available at: https://crimeresearch.org/2016/08/
12
     response-defilippis-hughes-review-war-guns/ (last visited Jan. 20, 2021).
13
14    3.       Attached hereto as Exhibit 2 is a true and correct copy of John R. Lott Jr.,

15 Crime Prevention Research Center, “Response To Evan DeFilippis And Devin
16 Hughes’ Newest Claims At Think Progress,” August 31, 2016, available at:
17 https://crimeresearch.org/2016/08/response-evan-defilippis-devin-hughes-newest-
18 claims-thinkprogress/ (last visited Jan. 20, 2021).
19    4.       Attached hereto as Exhibit 3 is a true and correct copy of John R. Lott Jr.,
20 “Response to Malkin’s Op-ed,” available                         at:       https://johnrlott.tripod.com
21 /malkinsoped.html (last visited Jan. 20, 2021).
22
      5.       Attached hereto as Exhibit 4 is a true and correct copy of the New York
23
     Times article, Ronald Smothers, “Florida Gunman Kills 8 and Wounds 6 in Office,”
24
     The New York Times, June 19, 1990, available at: https://www.nytimes.com/
25
     1990/06/19/us/florida-gunman-kills-8-and-wounds-6-in-office.html (last visited Jan.
26
     20, 2021).
27
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                                                        2
           DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                               MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                              (CASE NO. 3:19-CV-01537-BEN-JLB)
 1    6.       In responding to the various allegations made in the Declaration of Louis
 2 Klarevas in Support of Defendants’ Daubert Motion To Exclude Testimony of John R.
 3 Lott Jr., I have identified specific paragraphs of Klarevas’ declaration and quoted his
 4 statements in bold. My response to each of these statements immediately follows.
 5
      7.       First, Klarevas’ book did not identify which attacks he considered involving
 6
     assault weapons.1 I reached out to him out via email before putting my original work
 7
     on this to determine how he categorized the different types of weapons, but he didn’t
 8
     respond. Different organizations and people have different definitions of an assault
 9
     weapon. While I disagree with Klarevas on how to classify some of these weapons,
10
     and sometimes a certain arbitrariness exists in classifying them, even accepting all of
11
     Klarevas’ claims does not alter the results.
12
13    8.       Even if one completely agrees with the changes that Klarevas wants, none of
14 the results are consistent with what he would predict. If the Assault Weapon Ban is
15 driving the changes in the rate of mass public shootings, assault weapons should make
16 up a smaller share of the attacks during the assault weapon ban and then a larger share
17 when the ban sunset. If Klarevas wants to argue that there were large changes in the
18 total number of mass public shootings due to the assault weapon ban, the changes in
19 the assault weapon’s share of attacks should also be large. To put it differently, if the
20 ban prevented attacks because it made it so that these murderers did not have the
21 weapons that they wanted to use, eliminating the ban should result in more attacks
22 primarily because these killers can now use their preferred weapon. Why would they
23 start committing more attacks with their less preferred weapons when the preferred one
24 becomes available?
25
      1
        Table 3.2 on page 72 is available here (https://crimeresearch.org/wp-
26
      content/uploads/2018/04/A1.png and https://crimeresearch.org/wp-content/uploads
27    /2018/04/A2.png). Louis Klarevas, “Rampage Nation: Securing America from Mass
28    Shootings," Prometheus, 2016.
                                                        3
           DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                               MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                              (CASE NO. 3:19-CV-01537-BEN-JLB)
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     DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                         MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                        (CASE NO. 3:19-CV-01537-BEN-JLB)
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      9.       In each of the cases using Klarevas measure of six or more people murdered,
16
     the percentage of attacks using assault weapons is lowest during the ten years after the
17
     assault weapon ban sunset. According to Klarevas, the Mother Jones data for his
18
     preferred six or more people murdered, the percentage of attacks using assault
19
     weapons is highest when the ban is in effect and lowest after the ban sunsets. But why
20
     would the number of attacks involving non-assault weapons fall much more than the
21
     number of attacks with assault weapons during the assault weapon ban? Why would
22
     the number of attacks involving non-assault weapons rise much more than the number
23
     of attacks with assault weapons after the assault weapon ban ended?
24
25    10.      As I will show later, as a result of simple division mistakes by Klarevas using
26 his numbers, the same pattern is actually true for the measure of four or more people
27 murdered. For example, in Figure 8b, for the period when the assault weapon ban was
28
                                                         5
            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                                MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                               (CASE NO. 3:19-CV-01537-BEN-JLB)
 1 in effect, the percentage of attacks using assault weapons for four or more murdered
 2 cases should be 22.7% (=5/22), not 18.2%. The percentage of attacks using assault
 3 weapons in instances where four or more people were murdered thus declined from
 4 22.7% to 20% when the ban ended.
 5
      11.      While the ban on assault weapons might deter some from engaging in
 6
     attacks, to the extent that those who would continue attacking with other types of gun
 7
     do so or even some who would have substituted into other guns than assault weapons,
 8
     the share of attacks with assault weapons should decline during the ban and increase
 9
     when the ban ended. Klarevas’ claim (p. 26 in his declaration filed 1/23/20) that “these
10
     assertions are offered without any sound logical or empirical basis” is wrong.
11
12    12.    Looking at Klarevas’ preferred numbers in his figure 6b compared to the
13 numbers that I had originally presented, his numbers are even less supportive of his
14 theory. I had indicated a bigger drop in the percentage of attacks using assault weapons
15 between 1984 and 1994 and the 1994 to 2004 periods. Klarevas’ numbers show
16 virtually no change (just a 1.3 percentage point drop), and then a slightly larger
17 1.5 percentage point further drop once the ban sunset.
18    13.    Not only don’t these patterns move in a way that assault weapon ban advocates
19
     would predict, they are not statistically significant changes.
20
21                           Klarevas’ Comments Regarding His Data Set
22    14.    Paragraph 7: “By examining Lott’s Excel Workbook, it becomes clear
23 that the additional shooting is the result of Lott including a mass shooting that
24
   occurred in Bell, Florida, on September 18, 2014, more than a decade after the
25
   Federal Assault Weapons Ban had expired and outside of his analytical
26
   timeframe of September 2004–August 2014.”
27
28
                                                         6
            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                                MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                               (CASE NO. 3:19-CV-01537-BEN-JLB)
 1    15.    The assault weapons ban actually went from mid-September 1994 to mid-
 2 September 2004, not the end of August 2004, so the ten-year interval would be from
 3 mid-September 2004 to mid-September 2014. Klarevas was off by 14 days in his
 4 statement of when the law sunset. My difference is 4-days.
 5    16.      Paragraph 8: “the firearm in question was a M1 carbine, which is not
 6 considered to be an assault weapon under Florida or federal law.”
 7  17.     Yes, it was an M-1 Carbine, but it was a Universal M-1 Carbine. Despite
 8 Klarevas’ claim to the contrary, there was no exemption for M-1 Carbines, as a class,
 9 during the 1994-to-2004 federal assault weapon ban. The federal assault weapon ban
10 gave a blanket exemption specifically to the Iver Johnson M-1 Carbine
11 (https://www.govinfo.gov/content/pkg/STATUTE-108/pdf/STATUTE-108-Pg1796.
12
     pdf#page=201). M-1 Carbines were bannable under federal law. Universal redesigned
13
     its M-1 Carbine after World War 2, but Iver Johnson did not redesign their gun. The
14
     Universal M-1 Carbine has some different design differences, including its internals
15
     such as the number of recoil springs, number of catches on the magazine release, barrel
16
     shroud, barrel bands, sights, bayonet lug, trigger guards, safeties, and other features
17
     (https://www.youtube.com/watch?v=-Hnh9n5L_-A). Very few parts of the guns are
18
     interchangeable. The Universal M-1 was not a knockoff of the Iver Johnson gun, nor
19
     was the reverse true. The Universal M-1 would still fall into the prohibited category if
20
     it contained two of the prohibited features, such as a bayonet mount (common) and a
21
     folding stock (some of the models have that https://www.gunsamerica.com
22
     /961255730/UNIVERSAL-M1-Carbine-Para-w-folding-stoc.htm) or a pistol grip
23
24 (which can be added to the gun https://www.gunbroker.com/item/882463137).
25  18.     Florida does not ban assault weapons. But Universal M-1 Carbines can also

26 be banned under California’s Assault Weapon (https://oag.ca.gov/firearms/regs
27 /genchar2). The state ban covers semiautomatic, centerfire rifles that can accept a
28 detachable magazine and a list of other possible features, including a folding or
                                          7
            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                                MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                               (CASE NO. 3:19-CV-01537-BEN-JLB)
 1 telescoping        stock      (https://www.gunsamerica.com/961255730/UNIVERSAL-M1-
 2 Carbine-Para-w-folding-stoc.htm).
 3    19.      Since about 1990, New Jersey has listed the “M-1 Carbine Type.” See also
 4 the New York State assault weapon ban (https://www.governor.ny.gov/sites
 5 /governor.ny.gov/files/archive/assets/documents/GunBillAWSec22.pdf).
 6    20.      M-1 Carbines can also be banned under Maryland’s assault weapon ban.
 7    21.      Regarding paragraph 9 starting on page 7 of the Klarevas’ Daubert
 8 Motion.
 9   22.     After reviewing the data, those three guns in Klarevas’ list of cases should be
10 classified as assault weapons, though as noted above, Klarevas’ changes here don’t
11 alter the general pattern because the percent of attacks using assault weapons still fell
12
   during the period after the ban sunset. Some of the decisions on what to classify as an
13
   assault weapon are arbitrary and if Klarevas’ book had provided information on how
14
   and whether he classified different guns as assault weapons (just as Mother Jones and
15
   the CPRC have publicly provided this information), that debate could be avoided.
16
   When Mother Jones’ and the CPRC data were used, I used their definitions. As I will
17
   show, Klarevas does not follow others’ definition of an assault weapon even when they
18
   clearly identify the cases where they believe an assault weapon has been used.
19
     23.     While I will shortly go through additional case, one example of the difficulty
20
   in classifying weapons as assault weapons is provided in Klarevas’ discussion in lines
21
   3 and 4 in paragraph 11 on page 10. Klarevas claims that I “omitted 4 mass shootings
22
   that involved assault weapons.” It is clear that he is referring to the IHOP shooting in
23
24 September 2011 in Carson City, Nevada. In testimony before the Nevada state Senate
25 Judiciary Committee, Kenneth T. Furlong, Sheriff, Carson City, was asked: “Would
26
27
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                                                         8
            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                                MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                               (CASE NO. 3:19-CV-01537-BEN-JLB)
 1 you call this an assault weapon? Would this meet the definition under federal law?”
 2 His response was: “As it was purchased under federal law, this was a sport rifle.”2
 3                     Klarevas’ Comments Regarding the Mother Jones Data Set
 4
          24.      Paragraph 11: “omitted 4 mass shootings that involved assault
 5
     weapons”.
 6
 7        25.      These alleged four missing cases are: one from “September 1984 to August
 8 1994,” one from “September 1994 to August 2004,” and two from “September 2004
 9 to August 2014.”
10        26.      During the period “September 1984 to August 1994” (note that the Federal
11 Assault Weapon ban went into effect on September 13, 1994, not in August 1994, so
12
   the end periods should all be in September), Klarevas implied that I omitted a mass
13
   shooting case that involved assault weapons. Klarevas stated that there were 5 cases,
14
   but according to Mother Jones’ own list, there are only 4 assault weapon cases (Air
15
   Force base shooting 6/20/94; 101 California Street shootings 7/1/93; Standard
16
   Gravure shooting 9/14/89; Stockton schoolyard shooting 1/17/89). The case he
17
   appears to refer to is the shopping center spree killings on 4/23/1987. According to
18
   Mother Jones, the weapons involved in this case are Sturm, Ruger Mini-14
19
   semiautomatic rifle; 20-gauge Winchester pump-action shotgun; .357 Ruger
20
   Blackhawk revolver, which are not considered an assault weapons using Mother Jones
21
   definition. In Mother Jones' own list, it is marked as a non-assault weapon case, while
22
   Klarevas counted it as an assault weapon case.
23
24        27.      Over the years from “September 1994 to August 2004,” Klarevas claims
25 there were four assault weapon cases involving four or more people murdered in the
26    
          Minutes of the Senate Committee on Judiciary, Seventy-seventh Session,
27    March 15, 2013 (https://www.leg.state.nv.us/Session/77th2013/Minutes/Senate/JUD/
28    Final/532.pdf).
                                                             9
                DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                                    MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                                   (CASE NO. 3:19-CV-01537-BEN-JLB)
 1 Mother Jones data set. But according to Mother Jones’ list, there are only three such
 2 assault weapon cases (Caltrans maintenance yard shooting 12/18/1997; Columbine
 3 High School massacre 4/20/1999; Wakefield massacre 12/26/2000). Klarevas does not
 4 specify which case he is referring to as the fourth instance, but, in any case, it means
 5 that he disagrees with what Mother Jones classifies as an assault weapon. None of the
 6 following 12 cases are marked by Mother Jones as using an assault weapon.
 7
 8              Case                                       Location                       Date
 9              Walter     Rossler   Company
                massacre                           Corpus Christi, Texas                  4/3/95
10              Fort     Lauderdale   revenge      Fort       Lauderdale,
11              shooting                           Florida                                2/9/96
                R.E. Phelon Company shooting       Aiken, South Carolina                  9/15/97
12
                                                   Newington,
13              Connecticut Lottery shooting       Connecticut                            3/6/98
                Westside Middle School killings Jonesboro, Arkansas                       3/24/98
14
                Thurston High School shooting      Springfield, Oregon                    5/21/98
15              Atlanta day trading spree killings Atlanta, Georgia                       7/29/99
16              Wedgwood Baptist Church
                shooting                           Fort Worth, Texas                      9/15/99
17
                Xerox killings                     Honolulu, Hawaii                       11/2/99
18              Hotel shooting                     Tampa, Florida                         12/30/99
19              Navistar shooting                  Melrose Park, Illinois                 2/5/01
20              Lockheed Martin shooting           Meridian, Mississippi                  7/8/03

21    28.      For “September 2004 to August 2014,” the two missing cases reportedly
22 involve the IHOP shooting 9/6/2011 and the Capitol Hill attack 3/25/2006. As noted
23
   previously, as to the IHOP shooting, Kenneth T. Furlong, Sheriff, Carson City,
24
   Nevada, said that the weapon did not meet the federal definition of an assault weapon.
25
   For the Capitol Hill attack, the Bushmaster XM15 E2S semiautomatic rifle is
26
   characterized as an assault weapon by Mother Jones and the murder did have that
27
   weapon in his possession, but that gun was not used in the attack. As a news article at
28
                                            10
            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                                MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                               (CASE NO. 3:19-CV-01537-BEN-JLB)
 1 the time noted: “none of Huff's weapons would have been illegal under a federal
 2 assault weapons ban that expired two years ago.”3 The guns that were used were a
 3 40-caliber Ruger and a 12-gauge Winchester Defender pump-action shotgun. For
 4 consistency in following Mother Jones, in our revised figures below, I now include the
 5 IHOP shooting case as an assault weapon shooting.
 6
      29.      Paragraph 11: “included the death of perpetrators in his fatality count
 7
     for 10 incidents”
 8
 9    30.      When I utilized Mother Jones mass shootings dataset, I analyzed the cases

10 based on its criteria description. According to “A Guide to Mass Shootings in
11 America”      (https://www.motherjones.com/politics/2012/07/mass-shootings-map/),

12 Mother Jones stated that “perpetrators who died or were wounded during the attack
13 are not included in the victim tallies.” However, it turns out that it included
14 perpetrators’ death into the number of fatalities inconsistently in their list for cases
15 before 9/16/2013 and for the 10/24/2014 Marysville-Pilchuck High School shooting.4
16
17
18
19
      
20     Mother Jones includes the Capitol Hill massacre 3/25/06 as an assault weapon case,
   but while the attacker did have a gun that Mother Jones classifies as an assault weapon,
21 the gun was not used in the attack. Tracy Johnson and Angela Galloway, “Police seized
22 Huff's guns once,” Seattle Post-Intelligencer, March 28, 2006. Retrieved July 24, 2006
   (https://web.archive.org/web/20060329185249/seattlepi.nwsource.com/local/264597_h
23
   uffarsenal28.html).
24   4
       For example, besides Mother Jones’ statement on excluding the perpetrators deaths,
25 before 9/16/2013, they exclude perpetrators’ death for the Columbine High School
   massacre 4/20/1999; Atlanta day trading spree killings 7/29/1999; Living Church of
26
   God shooting 3/12/2005; Virginia Tech massacre 4/16/2007; Crandon shooting
27 10/7/2007; Kirkwood City Council shooting 2/7/2008; Northern Illinois University
28 shooting 2/14/2008.
                                                        11
            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                                MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                               (CASE NO. 3:19-CV-01537-BEN-JLB)
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 8
 9    31.      Figure 3b and Figure 7b below are corrected version of the charts excluding
10 the death of the perpetrators when counting fatalities in Mother Jones dataset. The
11 difference between these figures and Klarevas’ adjusted Figures 3b and 7b is that
12 Mother Jones differs from Klarevas in terms of what is an assault weapon. For the
13
     cases where 6 or more people have been murdered, the 1984-to-1994 period should
14
     show only two cases involving assault weapons, not three. For attacks involving four
15
     or more murdered, the three periods should show 4, 3, and 5 cases, not the 5, 4, and 6
16
     shown by Klarevas.
17
18    32.    The correct Figure 7b shows a much more dramatic drop in the share of

19 attacks using assault weapons after the ban sunset in 2004. The drop for cases
20 involving six or more murdered went from 33.3% to 19.0% (rather than from 33.3%
21 to 22.7%). Similarly, the drop for four or more murders fell from 20% to 11.8%,
22 which is what I had previously shown but is quite a change from Klarevas’ claim that
23 there was no change in the share of attacks using assault weapons over that period.
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            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                                MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                               (CASE NO. 3:19-CV-01537-BEN-JLB)
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                       Klarevas’ Comments Regarding the CPRC Data Set
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14   33.      Paragraph 13: “Lott also created two bar charts using data collected by
15 the CPRC—the organization he founded—to display trends before, during, and
16 after the Federal Assault Weapons Ban. Figures 4a and 5a below are
17 reproductions of the two CPRC charts that appear in Lott’s Declaration.4 Each
18 of these two bar graphs contains data that are inaccurate, rendering each
19 chart—and the conclusions drawn from each chart—flawed and unreliable. The
20 specific datapoints that are inaccurate are underlined. (Explanations for how it
21 was determined that the data are inaccurate are provided below.) Figures 4b and
22 5b below are adjusted versions of the corresponding bar graphs, incorporating,
23 to the extent possible, accurate datapoints. For ease of comparison, I present
24
   each original chart followed by the respective adjusted chart.”
25
     34. Among the cases on both Klarevas’ and CPRC’s lists, the only case with
26
   disagreement on assault weapon involvement is Shopping centers spree killings
27
28
                                                       13
           DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                               MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                              (CASE NO. 3:19-CV-01537-BEN-JLB)
 1 4/23/1987. CPRC follows Mother Jones’ definition and classified the case as not using
 2 assault weapons.
 3       35.      CPRC used the traditional FBI definition of mass public shootings in all such
 4
     posts. There are several parts to this definition.
 5
 6
               x The official FBI definition of active as well as mass public
 7               shootings excludes “shootings that resulted from gang or drug
 8               violence” or that occurred in the commission of another crime
                 such as robbery (Blair and Schweit, 2014, p. 5).5
 9
               x The FBI also includes only shootings in “public places” such as:
10               commercial areas (malls, stores and other businesses); schools
11               and colleges; open spaces; government properties (including
                 military bases and civilian offices); houses of worship; and
12               healthcare facilities (Blair and Schweit, 2014, p. 12).
13               Residences were included in the FBI’s total deaths only “where
                 casualties occurred inside a private residence before a shooter
14               moved to a public area, those incidents were categorized at the
15               location where the public was more at risk.” For example, their
                 cases would involve a residence and then a school.
16
               x From 1980 to 2013, the original FBI definition of “mass
17
                 killings” had been “four or more victims slain, in one event, in
18               one location,” and the offender is not included in the victim
19               count (CRS, July 30, 2015). In 2013, the definition was
                 changed to “three or more killings.” Vast majority of
20               academics have continued to use the four or more definition.
21               This includes researchers such as James Alan Fox. See also
                 studies years ago such as Grant Duwe, Tom Kovandzic, and
22               Carl Moody, “The Impact of Right-to-Carry Concealed Firearm
23               Laws on Mass Public Shootings,” Homicide Studies, Nov. 1,
                 2012. John Lott and Carl Moody, “How the U.S. Compares To
24               Other Countries In The Rate Of Public Mass Shooters,” Econ
25
26  Blair, J. Pete, and Katherine W. Schweit, “A Study of Active Shooter Incidents, 2000
     5


27 – 2013,” Texas State University and Federal Bureau of Investigation, U.S. Department
   of Justice, Washington D.C. 2014.
28
                                             14
                DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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                                                                                   (CASE NO. 3:19-CV-01537-BEN-JLB)
 1           Journal Watch, March 2020: 28-39. Even groups such as
             Bloomberg’s Everytown have recently used the four or more
 2
             definition. Mother Jones has used the four or more definition
 3           for most of the period and though after 2013 they did start
 4           reporting using the three or more definition.

 5
      36.        This is not to say that gang shootings over drug turf aren’t important or
 6
     interesting, but the causes and solution for gang fights or robberies are different than
 7
     mass public shootings, where the sole goal of the attack is to kill as many people as
 8
     possible.
 9
10    37.        But the odd thing is that Klarevas did not evaluate the CPRC data but his

11 own data set. To see this, compare Klarevas’ first set of graphs (Figure 1b) where he
12 presents his data relative to the graph that Klarevas says is the CPRC data (Figure 4b,
13 the first part that looks at cases where 6 or more people are murdered).
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            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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14    38.      The figures above from Klarevas’ Daubert Motion Declaration for his data
15 and for the CPRC data limited to cases where 6 or more people are murdered are
16 identical, even though that is impossible. Using CPRC’s definition of mass public
17 shootings, 28 of the cases that Klarevas identifies in his book are not qualified for
18 CPRC data base. Twenty-six of those cases either happened entirely on residence or
19 do not have four or more people killed in a public venue. At least three of those cases
20 that did not happen in public places are drug-related (Flint, MI 2/5/87; Philadelphia,
21 PA 12/28/00; Edinburg, TX 1/15/03) and look likely to be gang activity. Five cases
22 occurred in the commission of robbery (Palatine, IL 1/8/93; Fresno, CA 5/16/93;
23
     Philadelphia, PA 12/28/00; Edinburg, TX 1/15/03; Indianapolis, IN 6/1/06). Three of
24
     those robberies were not in public places and two of them are also drug related. Two
25
     other robberies occurred in public places. In addition, there are four cases with
26
     multiple locations involved in the shooting spree, but none of them qualifies for
27
     CPRC’s criteria that four or more victims slain in one public location.
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            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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 1   Explaining why Klarevas’ cases don’t fit the CPRC’s definition of Mass Public
     Shootings
 2
                                            Death
 3        Date        City          State s         Perpetrator Note
 4   1    10/18/1984 Evansville     IN      6       James Day      not public
                                                    Rita Lewis,
 5   2    12/08/1986 Oakland        CA      6       David Welch not public
 6                                                                 not public; drug-
     3    02/05/1987 Flint          MI      6       Terry Morris related
 7
                                                    Daniel
 8   4    07/12/1987 Tacoma         WA      7       Lynam          not public
 9                                                  James
     5    09/25/1987 Elkland        MO      7       Schnick        not public
10                                                  Robert
11   6    12/30/1987 Algona         IA      6       Dreesman       not public
                                                    Ricky
12   7    01/26/1991 Chimayo        NM      7       Abeyta         not public
13                                                                 not in one
                                                                   location; less
14
                      Morro Bay                                    than four killed
15                    and Paso                      Lynwood        in one public
16   8    11/07/1992 Robles         CA      6       Drake          location
                                                    Juan Luna,     occurred in the
17                                                  James          commission of
18   9    01/08/1993 Palatine       IL      7       Degorski       robbery
                                                    Allen Heflin, occurred in the
19                                                  Johnnie        commission of
20   10 05/16/1993 Fresno           CA      7       Malarkey       robbery
                                                    Cyrano
21
     11 07/12/1999 Atlanta          GA      6       Marks          not public
22                                                  Shihean
23                                                  Black,
                                                    Dowud          not public; drug-
24                                                  Faruqi,        related;
25                                                  Khalid         occurred in the
                                                    Faruqi,        commission of
26   12 12/28/2000 Philadelphia PA          7       Bruce Veney robbery
27                                                  Westley
     13 08/26/2002 Rutlegde         AL      6       Harris         not public
28
                                                     17
         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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 1   Explaining why Klarevas’ cases don’t fit the CPRC’s definition of Mass Public
     Shootings
 2
                                            Death
 3        Date        City          State s         Perpetrator Note
 4                                                  Humberto
                                                    Garza,
 5                                                  Robert         not public; drug-
 6                                                  Garza,         related;
                                                    Rodolfo        occurred in the
 7                                                  Medrano,       commission of
 8                                                  Juan           robbery; gang-
     14 01/15/2003 Edinburg         TX      6       Ramirez        related
 9
                                                    Marcus
10                                                  Wesson,
11                                                  Sebrenah
     15 03/12/2004 Fresno           CA      9       Wesson         not public
12                                                  James          not public;
13                                                  Stewart,       occurred in the
                                                    Desmond        commission of
14   16 06/01/2006 Indianapolis IN          7       Turner         robbery
15                                                  Hersel
     17 12/16/2006 Kansas City KS           6       Isadore        not public
16
                                                    Michele
17                                                  Anderson,
18                                                  Joseph
     18 12/24/2007 Carnation        WA      6       McEnroe        not public
19                                                                 not in one
20                                                                 location; less
                                                                   than four killed
21                                                                 in one public
22   19 09/02/2008 Alger            WA      6       Isaac Zamora location
     20 12/24/2008 Covina           CA      8       Bruce Pardo not public
23
                      Los
24   21 01/27/2009 Angeles          CA      6       Ervin Lupoe not public
25                                                                 not in one
                                                                   location; less
26                    Kinston,                                     than four killed
27                    Samson,                       Michael        in one public
     22 03/10/2009 and Geneva AL            10      McLendon       location
28
                                                     18
         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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 1   Explaining why Klarevas’ cases don’t fit the CPRC’s definition of Mass Public
     Shootings
 2
                                                Death
 3          Date          City          State s         Perpetrator Note
 4                                                      Christopher
     23 01/19/2010 Appomattox VA                8       Speight        not public
 5                        Grand                         Rodrick        not public; not
 6   24 07/07/2011 Rapids               MI      7       Dantzler       in one location
                          Copley                        Michael        not public; not
 7
     25 08/07/2011 Township             OH      7       Hance          in one location
 8                                                      Aziz
 9                                                      Yazdanpana
     26 12/25/2011 Grapevine            TX      6       h              not public
10                                                                     not in one
11                                                                     location; less
                                                                       than four killed
12                                                                     in one public
13   27 07/26/2013 Hialeah              FL      6       Pedro Vargas location
                                                        Ronald Lee
14
     28 07/09/2014 Spring               TX      6       Haskell        not public
15   Sources in order that the cases appear above.
16   1) https://news.google.com/newspapers?id=e-
     YKAAAAIBAJ&sjid=2U8DAAAAIBAJ&pg=5543,3504741&dq=
17   2) https://www.upi.com/Archives/1986/12/09/The-massacre-of-six-people-
18   including-two-children-was/9233534488400/
     3) https://www.mlive.com/news/flint/2016/03/man_convicted_in_deadliest
19   _kil.html
20   4) http://murderpedia.org/male.L/l/lynam-daniel.htm
     5) http://murderpedia.org/male.S/s/schnick-james.htm
21   6) https://apnews.com/article/8a3aad36d61603cdd89b3eabd5fa8b44
22   7) https://apnews.com/article/a0f5b384f54b6edd3d4b62e856ed7209;
     https://murderpedia.org/male.A/a/abeyta-ricky.htm
23
     8) https://www.nytimes.com/1992/11/09/us/gunman-kills-6-then-himself-in-
24   california.html
25   9)
     https://www.nytimes.com/2007/04/13/us/13chicken.html?mtrref=en.wikipedia.org
26   ; https://qctimes.com/news/local/technology-plays-key-role-in-slaying-
27   arrests/article_90efb8e1-0b6a-5341-9da3-b6ec94567e46.html
     10) https://murderpedia.org/male.M/m/malarkey-johnnie.htm;
28
                                                     19
         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                             MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
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 1   Explaining why Klarevas’ cases don’t fit the CPRC’s definition of Mass Public
     Shootings
 2
                                                Death
 3          Date          City          State s         Perpetrator Note
 4   https://apnews.com/article/4a98ddab69e0b199afe42064a3cbda60
     11) https://www.washingtonpost.com/archive/politics/1999/07/14/gun-misfire-
 5   spared-boy-in-shooting-rampage-that-killed-6-family-members/cfc11989-632a-
 6   4442-8fea-1be190cc1bba/?utm_term=.68b1b5c3b275 12)
     https://apnews.com/article/a0d42527b6b6437b3aa31940d89c2146;
 7   https://www.goupstate.com/article/NC/20040306/News/605153093/SJ;
 8   https://www.goupstate.com/article/NC/20040306/News/605153093/SJ
     13) https://www.tuscaloosanews.com/article/DA/20050813/News/606116101/TL
 9
     14) https://www.tdcj.texas.gov/death_row/dr_info/medranorodolfo.html;
10   https://murderpedia.org/male.M/m/medrano-rodolfo-alvarez.htm
11   15) https://www.nydailynews.com/news/justice-story/justice-story-vampire-king-
     article-1.1621606; https://en.wikipedia.org/wiki/Marcus_Wesson
12   16) https://www.indystar.com/story/news/2016/05/31/girl-endures-after-
13   horrendous-murders/84966722/;
     https://www.in.gov/judiciary/opinions/pdf/09281101rdr.pdf
14   17) https://www2.ljworld.com/news/2006/dec/18/police_shooter_was_depressed/
15   18) https://www.seattletimes.com/seattle-news/crime/timeline-of-carnation-
     killings-anderson-murder-trial/ 19)
16   https://www.seattlepi.com/local/article/Zamora-pleads-guilty-in-shooting-
17   rampage-won-t-891406.php;
     https://en.wikipedia.org/wiki/2008_Skagit_County_shooting_spree
18
     20) https://www.nytimes.com/2008/12/27/us/27shooting.html?ref=us
19   21) https://www.cbsnews.com/news/mass-murder-family-in-la-part-of-trend/
20   22) https://www.nytimes.com/2009/03/12/us/12alabama.html;
     https://en.wikipedia.org/wiki/Geneva_County_massacre
21   23) https://archive.vn/20110807075417/http://www2.wsls.com/sls/news/local
22   /lynchburg/article/appomattox_murders_suspect_declared_incompetent_for_trial/
     108516/;
23   https://www.cnn.com/2010/CRIME/01/20/virginia.shootings/index.html?hpt=T2
24   24) https://www.nytimes.com/2011/07/08/us/08gunman.html?_r=1
     25) https://www.cbsnews.com/news/ohio-rampage-suspect-bought-gun-from-
25   pawn-shop/;
26   https://web.archive.org/web/20150429165955/http://www.newsnet5.com/news/lo
     cal-news/akron-canton-news/police-respond-to-reports-of-multiple-gunshots
27
     26) https://www.dallasnews.com/news/crime/2012/12/25/documents-bring-
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         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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 1    Explaining why Klarevas’ cases don’t fit the CPRC’s definition of Mass Public
      Shootings
 2
                                                 Death
 3          Date           City           State s       Perpetrator Note
 4    glimpse-of-troubled-life-of-grapevine-mass-shooter/
      27) https://www.cnn.com/2013/07/27/us/florida-shooting/index.html
 5    28) https://www.usatoday.com/story/news/nation/2014/07/10/houston-shooting-
 6    multiple-fatalities-suspect-identified/12466251/
 7    39.      It is absurd for Klarevas to claim that the “corrected” or “adjusted” CPRC
 8
     data set has the exact set of cases as the Klarevas data set. For Klarevas’ data, the total
 9
     number of cases is much larger, 65, than for the CPRC data set, 37. The reason is
10
     simple: he includes mass shootings involving gang fights and robberies and attacks in
11
     residences. For the CPRC data set, the total is 37. The difference is the 28 cases listed
12
     above.
13
14    40.      The same errors also exist in Klarevas’ Figure 4b for the “CPRC Data set –

15 Adjusted” where he again includes these additional shooting cases. In addition,
16 Klarevas makes a counting mistake, as the number of cases where four or more are
17 murdered involving any firearm over the September 2004 to September 2014 period
18 should be 46, not 45.
19    41.      Even including the 28 unqualified cases into CPRC’s list and applying
20 Klarevas’ classification on assault weapons as he stated in the declaration, the figures
21 are not the same as he presented. Even using his own numbers, the percent of Mass
22 Shootings with Assault Weapon during the Federal Assault Weapons Ban for four or
23
   more murdered cases should be 22.7%(=5/22), not 18.2%. The corrected versions of
24
   the charts are as follows.
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            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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     42.    Based on CPRC dataset with its own definition, Figure 4b and 8b display trends
24
25   before, during, and after the Federal Assault Weapons.

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           DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                               MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                              (CASE NO. 3:19-CV-01537-BEN-JLB)
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24     Klarevas’ Claim that there is “no basis” for looking at the percent of attacks
25                               using assault weapons
26   43.      Paragraph 22: “As noted in my prior Declaration in this case (para. 44),
27 there is no basis for performing this type of ‘share’ analysis. Advancing an
28
                                         23
           DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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 1 argument based on the percentage of mass shootings involving assault weapons
 2 as a share of all mass shootings is a straw-man argument that displays a lack of
 3 understanding as to how bans operate, as discussed in paragraph 44 of my prior
 4 Declaration in this case. In addition to lacking a scholarly foundation, Lott’s
 5 theory about the share of mass shootings involving assault weapons also lacks an
 6 empirical foundation, given the enormous error rate that underpins his
 7 calculations of percentages.”
 8
      44.      Klarevas does not directly respond to my critique that if his theory is correct
 9
     than the share of mass public shootings committed with assault weapons should have
10
     declined during the period of the assault weapon ban. Instead, Klarevas provides
11
     Figures 5 and 6 in his Declaration that was filed 01/23/2020 which look at periods that
12
     do not directly correspond to the period before, during, and after the 1994-2004 ban.
13
14
15
16
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18
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24
25    45.      I tried to replicate Klarevas claims using the Mother Jones data (they have
26 assault weapons specifically labeled up through 2012) and I used their method after
27 that. Here is what I found.
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            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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11    46.      The point of Klarevas’ diagrams is to make it appear that there is a consistent
12 upward trend in the rate that assault weapons are used in mass public shootings, but
13 when you do it by year periods of time it becomes clear that the pattern Klarevas shows
14 is just an artifact of the unusual way that he presents the data. The declining percentage
15 as the time period gets longer is simply due to the fact that assault weapons were used
16 extensively during the very end of the period, but no theory is presented for why assault
17 weapons would suddenly become very popular twelve or more years after the end of
18 the assault weapon ban. That particularly does not fit Klarevas’ earlier analysis that
19 compared three ten-year periods of time.
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            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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      47.       From Paragraph 44 in Klarevas’ 01/23/2020 Declaration: “Lott is
12
13 implying that, should an assault weapons ban be repealed, establishing its
14 effectiveness would depend on showing that the share of gun massacres involving
15 assault weapons relative to all gun massacres increased. These assertions are
16 offered without any sound logical or empirical basis. In particular, Lott fails to
17 address recognized phenomena in the academic literature (e.g., spillover effects
18 and substitution effects) that capture how regulations can lead to additional
19 benefits, including reductions in different forms of mass-casualty firearm violence.
20 Such a dynamic could explain why the federal AWB was effective while, at the
21 same time, the share of gun massacres involving assault weapons, as a percentage
22 of all gun massacres, remained constant.”
23
      48.       It is not obvious how spillover effects are relevant to this discussion, but the
24
     substitution effects work in the opposite direction of what Klarevas claims. With an
25
     assault weapon ban, while some would-be attackers might refrain from attacking if they
26
     were to use an assault weapon, others will substitute other types of guns. To the extent
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                                                         26
             DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
                                                                 MOTION TO PRECLUDE TESTIMONY OF JOHN R. LOTT JR.
                                                                                (CASE NO. 3:19-CV-01537-BEN-JLB)
 1 that there is any substitution, that would lower the percentage of attacks using assault
 2 weapons.
 3    49.      The argument’s logic is pretty simple: if an assault weapon ban is effective, it
 4
     will both discourage some people who would have used an assault weapon not to attack
 5
     and cause others to switch to a different type of gun. Both effects will lower the
 6
     percentage of attacks using assault weapons. Instead, the percentage of attacks using
 7
     such weapons either rises or stays the same.
 8
 9    50.      Similarly, when the ban sunset, there should be an increase in the share of

10 attacks using assault weapons, but clearly that share consistently falls after the ban.
11    51.      There is no evidence that there was a statistically significant decline in the
12 share of attacks with assault weapons during the ban or a statistically significant
13 increase after the ban sunset.
14
                                                  Conclusion
15
16    52.        Klarevas’ reports contain numerous of errors, from simple counting
17 mistakes to problems with division to misclassifications. Yet, in all these different
18 breakdowns, the rate that attacks use assault weapons fell after the assault weapon ban
19 sunset. If sunsetting the ban drove the increase in shootings, the only way that could
20 have happened is if the share of shootings involving assault weapons increased. This
21 result is not consistent with the hypothesis that an assault weapon ban helped reduce
22 attacks.
23
      53.        In addition, the Mother Jones data for six or more murders and all the
24
     CPRC data show that the percentage of attacks using assault weapons rose during the
25
     period that they were banned. All the other results show a steady decline over time in
26
     the percent of attacks using assault weapons. It is hard to square any of these results
27
     with the claim that an assault weapon ban reduced the rate of attacks. If the changes in
28
                                                        27
            DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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 1 the number of attacks are not due to access to assault weapons, there must be other
 2 reasons for the changes in the rate.
 3    54.         Most importantly, in part because of the small sample size, there is no
 4 statistically significant changes in any of these numbers over time. Possibly this lack
 5 of statistical work that either looks at statistical significance or separates out-state
 6
     assault weapon bans from the federal ban is the reason that Klarevas’ work isn’t
 7
     published in refereed journals.
 8
      55.         The lack of evidence of such support for an assault weapon ban is not
 9
     surprising. As I have noted, there is an arbitrariness in how to classify these assault
10
11 weapons. I have used the Mother Jones and CPRC lists of assault weapon cases in
12 examining their data, and I would have used Klarevas’ list if he had included such a
13 list in his book. However, assault weapons are defined, you cannot get around the
14 problem that the guns that are banned are no different from other semi-automatic guns
15 that are still allowed in terms of their rate of fire, the types of bullets they fire, and the
16 damage that they can do.
17          I declare under penalty of perjury that the foregoing is true and correct. Executed
18 within the United States on -DQXDU\.
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                                                        ___________________________________
21                                                      John R. Lott, Jr.
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             DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ DAUBERT
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 5            Center, “Response to DeFilippis And Hughes
 6            Review Of The War On Guns”
              August 30, 2016
 7
       2      John R. Lott Jr., Crime Prevention Research                       0015-0033
 8            Center, “Response To Evan DeFilippis And Devin
 9            Hughes’ Newest Claims At Think Progress”
              August 31, 2016
10
       3      John R. Lott Jr.                                                  0033-0042
11            “Response to Malkin’s Op-ed”
12     4      New York Times article, Ronald Smothers,                          0043-0048
13            “Florida Gunman Kills 8 and Wounds 6 in Office”
              The New York Times
14            June 19, 1990
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EXHIBIT "1"




     0001
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Response To DeFilippis And Hughes Review Of The War On Guns
30 Aug , 2016




DeFilippis and Hughes have another piece attacking Dr. Lott’s new book The War on Guns (UPDATE: DeFilippis
and Hughes discretely note by their byline that they have updated this piece, but we haven’t taken the time to go
through it again to see what they have changed.). Past responses to Evan DeFilippis and Devin Hughes claims are
available here and here. You will see that many of these claims have already been address in past responses, but as
is very typical for DeFilippis and Hughes, they ignore responses that already exist and just assume that their
readers won’t check their claims.

UPDATED: Here is Lott’s response to their most recent claims:

1) National Research Council report found that the data did not support Lott’s theory

        Evan DeFilippis and Devin Hughes: The central finding in that book [More Guns, Less Crime] — that
        rates of gun ownership and the existence of “right to carry” laws reduce violent crime — have been
        the subject of numerous subsequent studies, the most sophisticated of which conclude Lott’s results are
        specious. (A National Research Council report found that the data did not support the theory.)

DeFilippis and Hughes incorrectly describe the National Research Council report. In the report, the NRC simply
said that it could not draw any conclusions with respect to right-to-carry laws.


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Although it examined a wide variety of gun laws, the NRC panel could not identify one in particular that made a
statistically significant difference. Only on right-to-carry laws was there a dissent from this conclusion. James Q.
Wilson pointed to the panel’s own regressions, all of whice found that right-to-carry reduces murder rates.

In the previous 15 years, there had been only one other dissent. Academics who don’t sign on to an NRC report are
not invited back to future panels. This creates strong pressure not to dissent and to agree with reports that refuse to
say anything matters. In any case, the NRC report found more support for my findings than for any other study.

Here are quotes from the executive summary of the NRC report:

        For right-to-carry laws, the committee concluded: “If further headway is to be made, in the
        committee’s judgment, new analytical approaches and data are needed.”

        For violence and suicide: “The committee also recommends further studies of the link between
        firearms policy and suicide.”

        For restricting access: “The committee recommends that work be started to think carefully about
        possible research and data designs to address these issues.”

        For prevention programs and technology: “The committee recommends that firearm violence
        prevention programs should be based on general prevention theory, that government programs should
        incorporate evaluation into implementation efforts, and that a sustained body of empirical research be
        developed to study the effects of different safety technologies on violence and crime.”

        For criminal justice interventions: “The committee recommends that a sustained, systematic research
        program be conducted to assess the effect of targeted policing and sentencing aimed at firearms
        offenders.”

DeFilippis’ and Hughes’ claim that a study by John Donohue et. al. represents the most sophisticated study on
concealed carry. In fact, there are significant errors with that research. Unfortunately, they assume that the adoption
of “shall-issue” or “right-to-carry” laws causes a large, immediate increase in the number of permits. But many
states with right-to-carry laws make it difficult to obtain permits. Compared to the rest of the country from 1999 to
2010, states that adopted right-to-carry laws actually experienced a less rapid increase in the share of the adult
population with permits. Other comments are available here.

2) Lott dismisses the link between guns and suicide

Evan DeFilippis and Devin Hughes assert:

        The NRC report’s larger conclusion, after reviewing the research? “Overall, the U.S. studies have
        consistently found that household gun ownership is associated with a higher overall risk of suicide.”
        The exact opposite of Lott’s claim.

DeFilippis and Hughes omit the previous sentence in the NRC report: “It is not yet clear if the individuals who
used a gun to commit suicide would have committed suicide by another method if a gun had not been available.”
And the executive summary stated that no conclusion had been reached, only that: “The committee also
recommends further studies of the link between firearms policy and suicide.” DeFilippis and Hughes cite other
studies without including passages that similarly acknowledge the possible substitutability of different methods of
suicide.

DeFilippis and Hughes ignore a survey of economists and criminologists who have done empirical research on
firearms. This survey shows a 60%-to-40% margin believing that the presence of a gun in the home does not cause
an increase in the risk of suicide. Economists overwhelmingly took this position, while criminologists agreed with
it by a margin of only two-percentage points.

See also here for some general responses.
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3) Lott is the progenitor of the myth that mass shooters seek out “gun free” zones

Evidence on the mass public shooters picking gun-free zones is available here.

In the “War on Guns,” I spend a paragraph discussing the James Holmes’ case as it pertains to the issue of gun-free
zones.

Citing Mother Jones magazine, DeFilippis and Hughes start off with the claim:

        Yet the main reason Holmes decided against attacking an airport, according to passages in 36 pages
        of handwritten notes gathered during the post-shooting investigation, is that he didn’t want his motive
        to be construed as terrorism.

I have no idea what Holmes’ “main reason” was for not attacking the airport. But the first reason he lists is
“substantial security.”




        Evan DeFilippis and Devin Hughes: This research revealed that, of the seven theaters showing “The
        Dark Knight” within 20 minutes of the killer’s house, only one prohibited firearms. (It’s worth
        mentioning just how arbitrary and suspiciously convenient that 20-minute cutoff is. Had he extended
        the study to theaters that were 21 minutes away, he’d be forced to include the Arapahoe Crossings 16
        complex, which also posted signs forbidding guns.)

In fact, the only reason that they know about the signs at the Arapahoe Crossings 16 complex is because
I already provided that information. Most of the other theaters that were farther than 20 minutes away also
allowed permitted concealed handguns. The 20 minute distance was arbitrary, but the point is that of all the movie
theaters that were somewhat close only one posted signs banning concealed handguns and that is the one that he
went to. He clearly went to the closest movie theater that banned concealed handguns. In any case, I have publicly
provided information on other theaters (it is readily available on my website). Arapahoe Crossings 16 complex was
23 minutes from Holmes apartment.

        DeFilippis and Hughes: In classifying theaters as gun-free zones, Lott makes the suspect assumption
        that any theater without a visible “No Weapons Allowed” sign must necessarily allow firearms. This
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        ignores the fact that businesses might ban guns as a matter of internal policy but nevertheless be
        reticent to advertise that policy. Indeed, we know that Lott’s assumption is wrong, because we made
        follow-up calls to the theaters in Lott’s data set. Esquire Theater, for instance, which is within the 20-
        minute circle of Holmes’s apartment, disallows weapons as a matter of policy, yet it has no posted
        signs.

There are several problems with this claim. 1) The Esquire movie theater can have any “internal” policy that it
wants. But if the customers aren’t notified of the theater’s preferences, moviegoers will be bringing their permitted
concealed handguns into the theater. 2) Esquire Theater was not showing the Batman movie when Holmes
attacked, so this unstated policy was hardly relevant.

        DeFilippis and Hughes: Lott also cites statements in the rambling “manifesto” of Elliot Rodger, who
        killed six people and wounded 14 others in Isla Vista, California, near the University of California at
        Santa Barbara campus. But Rodger makes it crystal clear that it was police officers he was worried
        about encountering, not armed civilians.

I agree that Elliot Rodger wanted to avoid police, just as I had noted that Holmes had wanted to avoid airport
security. It is true that these individuals did not make specific statements about armed civilians. But the point of
these two references was to show that these two particular killers avoided places where people with guns might be
able to stop them. It answers DeFilippis’ and Hughes’ question: “Are we really to believe that sociopaths like
James Holmes” pay attention to such details?”

        Evan DeFilippis and Devin Hughes: He misclassified shootings in Umpqua Community College in
        Oregon; Hiahleah, Florida; and elsewhere as occurring in gun-free zones. But as Politifact has
        reported, Umpqua permitted people with concealed-carry licenses to carry arms on campus.

For those questioning whether the community college is a gun-free zone, here is a statement from the recent past
president of the college in the New York Daily News.

        But Joe Olson, the former president of Umpqua, said he decided to keep the campus gun-free last year
        after a campus-wide debate. . . .

The Register-Guard newspaper in Eugene, Oregon had this from the Interim community college President Rita
Calvin (this link is now broken):

        Interim community college President Rita Calvin said security officers are on campus around the
        clock, but are not armed. The campus is a gun-free zone. . . .

Schools can clearly prevent faculty members from carrying a gun on campus. Here, the pertinent case is: Court of
Appeals of Oregon. Jane DOE, Plaintiff-Appellant, v. MEDFORD SCHOOL DISTRICT 549C, Defendant-
Respondent.073765E2; A137804. Decided: November 18, 2009.

        In our view, the school district’s internal employment policy does not represent the sort of exercise of
        the “authority to regulate” firearms that the statute preempts. Because, as we have noted, the trial court
        erred in dismissing the declaratory judgment action rather than issuing a judgment containing a
        declaration as to the matter in dispute, we must vacate the judgment and remand for entry of a
        judgment declaring that the school district’s policy is not preempted by ORS 166.170. . . .

Employment policy thus seems clear. What has not been decided is whether schools can, as a condition of
enrollment, prohibit students from carrying guns. But it seems likely that Oregon courts would make a decision
similar to their decision in regard to school employees. Wouldn’t this include non-faculty school employees, if it
were stated in their employee handbooks?

In another, more recent case, the Oregon state Appeals Court ruled about a challenge to Western Oregon
University’s administrative rule banning guns. In that case, the court decided that the school did not have the
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authority to make such a rule. Administrative rules, however, are a different matter from stated employment or
enrollment policies in student or faculty handbooks. OREGON FIREARMS EDUCATIONAL FOUNDATION, an
Oregon nonprofit corporation, Petitioner, v. BOARD OF HIGHER EDUCATION and BOARD OF HIGHER
EDUCATION and Oregon University System, Respondents.A142974. Decided: September 28, 2011.

        In this administrative rule challenge, ORS 183.400(1), petitioner Oregon Firearms Educational
        Foundation seeks the invalidation of an administrative rule of the Oregon State Board of Higher
        Education and the Oregon University System (respondents) that imposes sanctions on persons who
        possess or use firearms on university property. Petitioner contends that the rule exceeds respondents’
        statutory authority, that it is preempted by ORS 166.170, and that it violates the Second Amendment to
        the United States Constitution. We conclude that the rule is preempted and therefore do not address
        whether it also violates the Second Amendment. Accordingly, we conclude that the rule is invalid. . .
        .

If guns are banned through statements in student and faculty handbooks, then only non-student and non-faculty
members would be clearly able to carry on school/college campuses. But then there is the question of whether
schools/colleges can ban guns in buildings. It appears that the Oregon state Appeals Court has answered that
question in the affirmative.

        That exception, petitioner contends, demonstrates the legislature’s intention to expressly authorize
        persons with concealed handgun permits to carry firearms in public buildings, including buildings on
        state college and university campuses. We reject the contention that a statutory exception to criminal
        sanctions for the possession of a handgun in public buildings indicates an intention to require public
        educational institutions to permit concealed handguns. . . .

As to the Yoyito-Café in Hialeah, Florida, DeFilippis and Hughes rely on a report by Michael Bloomberg’s
Everytown. Although Everytown mentions that guns are banned in restaurants which earn 50 percent or more of
their revenue from alcohol, the group doesn’t seem to have bothered to check whether that was the case for this
restaurant. Apparently, the restaurant was at the time a very popular venue for parties serving alcohol. If
Bloomberg’s group had checked, they would have found that it was a gun-free zone.

The organization of the bar in the center of the restaurant is also important for this determination. After it reopened,
I called up the Café to check on these facts.

4) There’s little to no evidence that wielding a gun makes you safer

Academic studies showing this point is available here. A survey of academics on this point see here.

My book cites separate studies by Lawrence Southwick and Gary Kleck. DeFilippis and Hughes cite one study on
the other side that has a lot of problems with it. In addition, DeFilippis and Hughes ignore that the National Crime
Victimization Survey (NCVS) has a significant bias against finding defensive gun uses. This survey has a
screening question that asks people whether they have been victims of violent crime. Because people who have
used guns defensively are likely to avoid becoming victims, the question biases the survey by making it less able to
pick up on defensive gun uses.

Gun ownership improves safety both by deterring criminals from attacking and by giving defendants the means to
protect themselves. The NCVS survey does not study deterrence, but only deals with the latter point. Among peer-
reviewed, nationwide studies by criminologists, economists and law professors, approximately two-thirds find that
right-to-carry laws reduce violent crime.

5) Evidence-free assertions about guns and children

Who knows how they define “evidence-free assertions,” but here is one of the peer-reviewed studies that I have
published on guns and children. Another peer-reviewed study is available here.

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DeFilippis and Hughes repeat other criticisms that I have already dealt with elsewhere (see here and here).


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Gun Control Myths: How politicians, the media, and botched “studies” have twisted the facts on gun control




The War On Guns: Arming Yourself Against Gun Control Lies




More Guns, Less Crime (University of Chicago Press, 3rd ed, 2010)


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The Bias Against Guns




Straight Shooting: Firearms, Economics and Public Policy




                 Stalked and Defenseless: How Gun Control Helped My Stalker Murder My Husband in Front of Me




Freedomnomics, see Chapter 4 for a general overview of the economics of crime




Dumbing Down the Courts: How Politics Keeps the Smartest Judges Off the Bench

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16 Apr , 2016

Comparing Murder Rates And Gun Ownership Across Countries

31 Mar , 2014




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25 Apr , 2017




At Newsweek: Don’t Let Anti-Gun Activists Weaponize The Capitol Hill Riot

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From Early January To Late January 2020

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Featured

Response To Evan DeFilippis And Devin Hughes’ Newest Claims At Think
Progress
31 Aug , 2016




I have responded previously to some of these claims by Evan DeFilippis and Devin Hughes. Their latest attack is
over at ThinkProgress, which bills itself as providing a progressive perspective. No doubt, the attack was
prompted by the media coverage that I have been getting for my new book, The War on Guns. If they feel the need
to attack, it shows that we are making some progress in educating people and they mention my book near the
beginning of their attack piece.

Regarding the bottom of line of whether concealed carry reduces murder rates, here is a list of papers published in
peer-reviewed journals by economists and criminologists.

Let me go through DeFilippis’ and Hughes’ points in order.

1)“Lott’s assertion that more guns leads to more safety formally repudiated by a National Research Council
panel”

DeFilippis and Hughes incorrectly describe the National Research Council report. The NRC report simply said
that they could not draw any conclusions with respect to right-to-carry laws.

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The report examined seemingly every possible gun law that has been studied by academics, but the NRC panel
could not identify one particular law that made a statistically significant difference. Only on right-to-carry laws
was there a dissent from this conclusion. James Q. Wilson pointed out that all of the panel’s own regressions found
that right-to-carry reduces murder rates. In the previous 15 years, there had only been one other dissent.

Academics who don’t sign on to an NRC report are not invited back to be on future panels. This creates strong
pressure not to dissent and to agree with reports which refuse to say that anything matters. In any case, the NRC
report actually found more support for my findings than for any other study.

For all the various gun control laws, the NRC panel simply said that no conclusions could be drawn and they called
for more research. Nothing was different for right-to-carry laws, though DeFilippis and Hughes would never note
this for any of the gun control laws that they support. Here are quotes from the executive summary of the NRC
report:

        For right-to-carry laws, the committed concluded: “If further headway is to be made, in the
        committee’s judgment, new analytical approaches and data are needed.”

        For violence and suicide: “the committee also recommends further studies of the link between firearms
        policy and suicide.”

        For restricting access: “the committee recommends that work be started to think carefully about
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        For prevention programs and technology: “the committee recommends that firearm violence
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        incorporate evaluation into implementation efforts, and that a sustained body of empirical research be
        developed to study the effects of different safety technologies on violence and crime.”

        For criminal justice interventions: “The committee recommends that a sustained, systematic research
        program be conducted to assess the effect of targeted policing and sentencing aimed at firearms
        offenders.”

2) DeFilippis and Hughes claim: Lott “had also been caught pushing studies with severe statistical errors on
numerous occasions.”

They point to a paper by Ayres and Donohue in the Stanford Law Review. However, the Stanford Law Review
issued an unusual, strongly-worded correction. The paper that Ayres and Donohue were commenting on was not
my paper. It was a paper by Florenz Plassmann and John Whitley. The Stanford Law Review stated that, “Ayres
and Donohue’s Reply piece is incorrect, unfortunate, and unwarranted” because of this misimpression and why I
had stopped by involvement with the paper.

For a discussion by Florenz Plassmann and his response to Ayres and Donohue, please see here.

DeFilippis and Hughes ignore that Donohue was actually forced to acknowledge serious errors in a paper that he
wrote on concealed handgun laws (see this paper and also this one for more detailed discussions).

For other notes on Ayres and Donohue see here.

3) DeFilippis and Hughes claim, “An investigation uncovered that [Lott] had almost certainly fabricated an entire
survey on defensive gun use.”

On July 3rd, 1997, I suffered a computer hard disk crash that lost data for many different papers, many papers that I
was working on with co-authors at the time. Co-authors and I spent much of the next two years putting the lost data
together again. All the data that went into my regressions on right-to-carry laws was replace. One set of data

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involved a survey on defensive gun use, something that involved one paragraph in my book, More Guns, Less
Crime.

As Ann Coulter wrote: “In 1997, a computer crash led to the loss of Lott’s underlying data. Fortunately, he had
previously sent this data to his critics — professors Dan Black, Dan Nagin and Jens Ludwig. When Lott asked if
they would mind returning it to him to restore his files, they refused.”

There are two other problems with the claim about the lost survey data.

— This lost data that They ignore evidence supporting the existence of the survey, which was lost in a hard drive
crash.

        A) Science requires replication. The survey, with the same questions and format, was redone in 2002.
        The redone, smaller survey produced similar results. That survey data are available at
        https://crimeresearch.org/data/.

        B) The survey was used in a single paragraph in my book, More Guns, Less Crime. I argued that the
        simple defensive brandishing or warning shots are not news worthy. The higher the rate of defensive
        brandishing or warning shots, the easier it is to explain why the media is not biased when it doesn’t
        cover most defensive gun uses. If I wanted to show that the media was more biased, I should have
        used the surveys with lower defensive brandishing rates. I have also explained why the length of the
        time people are asked to recall events over can explain the difference in the four surveys on
        brandishing that have been done over the last twenty years (two designed by me and two by Gary
        Kleck).

        C) Two people have come forward to say that they took the original survey (John Hamilton and David
        Gross). Professor Jeff Parker of George Mason University interviewed John Hamilton, a retired private
        detective in Tennessee. Parker also interviewed Hamilton’s sister, who reported being told
        contemporaneously by Hamilton that he had taken the survey.

        David Gross, a former prosecutor in Minnesota, also took the survey. Gross’s statements confirmed
        many aspects of my 1997 survey (e.g., the number of questions, students conducting it, and the
        questions asked). .

        Other people were able to confirm various other aspects of the survey, such as when it was conducted
        and that I talked to people at the time of the survey. I have also supplied my tax records from 1997,
        which show large payments for research assistants. Some have speculated that Hamilton and Gross
        took a 1999 survey by David Hemenway, but when Hemenway finally released his data, a decade later,
        it was possible to look at where those survey lived as well as their age, race, and gender and that
        information made it clear that neither Hamilton nor Gross could have taken their survey.

        D) Many people knew of this hard disk crash because they were working with me on other projects,
        for which I also lost data.

— The source for DeFilippis’ and Hughes’ claims has been repeatedly caught altering documents. He has also not
been particularly objective in the debate over gun laws (see here, here, and here).

4) DeFilippis and Hughes claim: “[Lott] was all but excommunicated from academia.”

Lott currently ranks 28th worldwide among the hundreds of thousands of economists, business professors, law
professors, and other academics in terms of the rate that his papers are downloaded on the Social Science Research
Network. Over the last year, Lott ranked 41st in the world. The Crime Prevention Research Center not only has a
prestigious Board of Academic Advisors, but my brand new book has received strong endorsements from many
extremely prominent academics (some are also on our Board of Academic Advisors). Yet, if you want to know
what it is like being a conservative in academia, you might want to read this about how Chicago Mayor Richard
                                                                        0018
https://crimeresearch.org/2016/08/response-evan-defilippis-devin-hughes-newest-claims-thinkprogress/                                           3/18
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Daley put pressure on the University of Chicago to get me removed from the University. Something similar
happened when I was at the Yale Law School. As to academic positions, I was at the University of Maryland up
until June 2009.

        “To paraphrase a once-famous commercial slogan, ‘When John R. Lott speaks, everyone listens.’ Or,
        at least they should when this leading expert on all matters gun control speaks out so provocatively
        and persuasively. In his new book, Lott delves into the myriad ways in which anti-gun ‘statistics’ and
        ‘research’ have been used to perpetrate utter falsehoods and misleading propaganda. If there is to be
        any intelligent, honest, and objective discussion of gun policy in the United States, then The War on
        Guns ought to be required reading.”

        —PROFESSOR CHARLES J. GOETZ, Joseph M. Hartfield Professor of Law Emeritus, University
        of Virginia School of Law

        “John R. Lott is a role model for those who do scientific research on important problems. He is
        objective and logical. He uses the best evidence available—data from natural experiments on the
        effects of gun regulations—to compare the effects of alternative policies. He fully discloses his
        analysis, and responds to critics by conducting further research. As a result, his findings have
        persuaded many people. Lott’s scientific approach is the opposite of the advocacy research that fills
        many academic journals, and which the media delight in reporting. Lott’s The War on Guns exposes
        and explains the deceptions used by gun-control advocates. Those who want to live in a safer world
        will benefit from Lott’s findings. Of the many gun regulations to date, there are no scientific
        comparisons that have found a reduction in crime or death rates.”

        —PROFESSOR J. SCOTT ARMSTRONG, The Wharton School, University of Pennsylvania

        “We should all thank and admire John Lott for single-handedly changing the debate on guns from ill-
        informed rhetoric attacking gun ownership to hard-headed empirical analysis that shows the benefits
        of allowing law abiding citizens to carry concealed weapons. The War on Guns continues this debate
        by showing that the anti-gun lobby has spent millions of dollars making false and misleading claims
        about guns. Once again, John Lott provides careful and rigorous empirical analysis that undermines
        these claims. Kudos to John Lott for having the guts to take on the anti-gun lobby.”

        —PROFESSOR WILLIAM M. LANDES, senior lecturer and Clifton R. Musser Professor Emeritus
        of Law & Economics, University of Chicago Law School

        “John Lott is more responsible than anyone else for arguments that gun ownership in the U.S.
        increases safety and reduces crime. Arrayed against him are the entire public health establishment and
        much of the media. In this book, John carefully analyzes many of the arguments made against gun
        ownership—for example, there are more gun homicides and mass shootings in the U.S. than
        elsewhere, background checks reduce gun harms, “Stand Your Ground” laws harm African Americans
        and increase crime—and shows using both statistical and anecdotal evidence that they are incorrect.
        He also shows that wealthy opponents of gun ownership (such as Michael Bloomberg) finance much
        fallacious “public health” research on the effects of guns. Anyone interested in the gun debate should
        read this book, and opponents of gun ownership have an intellectual obligation to confront the
        arguments.”

        —PROFESSOR PAUL H. RUBIN, Samuel Candler Dobbs Professor of Economics, Emory
        University

        “John Lott’s new book, The War on Guns: Arming Yourself Against Gun Control Lies, does just that.
        Lott deals with a wide variety of claims that question the value of firearms for self-defense, providing
        the analysis and facts the public needs to see through the distortions of gun control advocates. This is a
        valuable guide to a more balanced understanding of the issue.”
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        —PROFESSOR JOYCE LEE MALCOLM, Patrick Henry Professor of Constitutional Law and the
        Second Amendment, Antonin Scalia Law School, George Mason University

        “John Lott’s new book, The War on Guns: Arming Yourself Against Gun Control Lies, is an
        indispensable source of facts, insights, and cogent argument. Anyone who wants to be informed on the
        gun control issue has to read this book.”

        — PROFESSOR CARLISLE E. MOODY, Professor of Economics, William and Mary

5) DeFilippis and Hughes assert: “A blogger revealed that Mary Rosh, an online commentator claiming to be a
former student of Lott’s who would frequently post about how amazing he was, was in fact John Lott himself.” It
was a family email account and I wasn’t the only one who posted comments.

        As I posted well over a decade ago, the blogger Julian Sanchez misrepresented the events here.

6) DeFilippis and Hughes note:

        “In February, he [Lott] made the claim before the Tennessee Senate. ‘Most people may not realize this,
        but the rate of mass public shootings in Europe is actually fairly similar to the rate in the United
        States,’ he said. ‘There is no statistically significant difference there, either in terms of the rate or
        fatalities.’

        A couple of months earlier, he said something similar to the Washington Post, which quickly
        highlighted that his analysis was quite different from that of other experts in the field. As the Post
        noted, while Lott said the per capita rates of mass shootings in Europe and the United States were
        approximately the same, another researcher found the U.S. rate to be five times higher. The Post
        explained that the gulf between the results was due to Lott and the other researcher using different
        definitions.”

The average incident rate per capita for the 28 EU countries is 0.0602 with a 95% confidence Interval of .0257 to
.09477. The US rate of 0.078 is higher than the EU rate, but the difference is not statistically different. The average
fatality rate for the 28 EU countries is 0.114, with a 95% confidence Interval of -.0244 to .253. The US rate of
0.089 is lower than the EU rate, but again the difference is not statistically significantly.

In Chapter 7 in The War on Guns, I show that from 2009 through 2015 (the first seven years of Obama’s
presidency), the fatality rate per million people was 0.58 in the EU and 0.62 in the US. The injury rate was 1.316 in
the EU and 0.609 in the US.

Not that it matters, but the quote at the end of the first paragraph is incorrect. It should read “the rate of fatalities,”
not “the rate or fatalities.”

7) DeFilippis and Hughes note: “Further, Lott’s carefully crafted criteria to include an incident as a mass
shooting is highly suspect. Lott goes to great lengths to exclude mass shootings that are the result of burglaries and
gang violence, but he includes terrorist attacks.”

As I explain in my book, The War on Guns, and elsewhere, I rely on the FBI definition of mass public shootings
(p.67). Since my original research with Bill Landes in the late 1990s, I have excluded shootings involving other
crimes. Whether the shootings were classified as terrorist attacks was irrelevant.

        The FBI definition of mass public shootings excludes “shootings that resulted from gang or drug
        violence” or that were part of some other crime.33 The FBI also defines “public” places as
        “includ[ing] commercial areas (divided into malls, businesses open to pedestrian traffic, and
        businesses closed to pedestrian traffic), educational environments (divided into schools [pre-
        kindergarten through twelfth grade] and IHEs), open spaces, government properties (divided into
        military and other govern- ment properties), houses of worship, and healthcare facilities.”34
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        Mass public shootings rivet our attention on the news. In most cases, they are carried out for the
        purpose of attracting media attention. They occur in areas where it is relatively easy to kill a lot of
        people—places like schools, malls, and movie theaters.

For the original source, see the fourth paragraph on page 5 in this 2014 report by the FBI:

        Specifically, shootings that resulted from gang or drug violence—pervasive, long-tracked, criminal
        acts that could also affect the public— were not included in this study. . . .

Also page 12 in the section marked “locations.”

        The FBI identified 11 separate incident location categories31 when seeking to identify the primary
        locations where the public was most at risk during an incident. These location categories include
        commercial areas (divided into malls, businesses open to pedestrian traffic, and businesses closed to
        pedestrian traf c), educational environments (divided into schools [pre-kindergarten through 12th
        grade] and IHEs), open spaces, government proper- ties (divided into military and other government
        properties), residences, houses of worship, and health care facilities. . . .

DeFilippis and Hughes write: “This year alone, there have already been 233 mass shootings, where four or more
victims were shot, leaving 310 dead and 930 injured.” These cases, while tragic, were largely gang shootings or
attacks that were part of some other crime.

Curbing gang violence is important, and it could be done pretty simply: legalize drugs or stop enforcing the
existing laws. Absent legalization or demand disappearing, drug gangs will keep fighting to control turf. Just as
gangs can get a hold of illegal drugs, they can get a hold of the weapons that they use to protect that valuable
property. But whether drugs should be legalized is another topic. The point here is simply that gun laws are not to
blame for drug gang violence. Drug gang violence and mass public shootings tend to have very different
causes. The latter attacks are typically designed to kill or wound as many people as possible. It doesn’t make much
sense to lump together the two types of gun violence.

DeFilippis and Hughes note: “This choice means that while the Texas biker gang gunfight last summer is excluded
in his statistics, the November Paris attacks, which accounted for more than one-third of Europe’s mass shooting
fatalities, are included.”

Yet, DeFilippis and Hughes reference to what they themselves note as a “Texas biker gan gunfight” clearly doesn’t
fit the FBI definition. To exclude all four of the Paris attacks last year would mean that one would have to exclude
the Orlando, San Bernardino, Fort Hood, Chattanooga, and other attacks in the US. Yet, the key comparison for
these terrorist attacks and those at Newtown is that the killers want to kill as many people as possible and to obtain
news media attention.

8) Econ Journal Watch paper

Econ Journal Watch originally accepted the paper, but at the last moment in September 2015, the month that the
paper was supposed to appear in the online publication, additional work was requested requiring additional work.
After that disagreements arose between the editor and myself that spread out over 5 months, and the paper wasn’t
published. I forgot to go back and remove the note that the paper was forthcoming. For those interested in seeing
whether I needed one more line on my Vita, here is a copy of it.

9) Did Moody, Marvell, Zimmerman, and Alemante (MMZA) misinterpret their own results (paper
available here)? No.

DeFilippis and Hughes claim:

        In their paper “The Impact of Right-to-Carry Laws on Crime: An Exercise in Replication,” Carlisle
        Moody, a CPRC board member, and three co-authors examine the impact of right-to-carry (RTC) laws
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        on violent crime and critique an earlier study by John Donohue and his colleagues.

        Donohue and his colleagues had concluded that the most significant effect of concealed carry laws is
        an increase in aggravated assault, but Moody et al. reported that: “the most robust result, confirmed
        using both county and state data, is that RTC laws significantly reduce murder. There is no robust,
        consistent evidence that RTC laws have any significant effect on other violent crimes, including
        assault.” This result fits well with Lott’s long established hypothesis that concealed carry significantly
        decreases crime, and the authors interpret it as a direct repudiation of Donohue’s results.

        But there’s just one problem. Moody and his co-authors misread their own analysis.”

DeFilippis and Hughes seem to accuse a lot of people of deliberately deceiving others. But DeFilippis and Hughes
don’t seem to understand what is meant by “robust results, confirmed using both county and state data.” MMZA
weren’t claiming that there wasn’t a single result showing a significant effect for aggravated assaults. What they
were saying is that the results weren’t consistent across different estimates.

10) DeFilippis and Hughes claim other mistakes by Lott “allies”:

        As Ian Ayres and Donohue described in a brutal takedown of Lott and his allies’ research, there were
        at least two previous cases where Lott used this tactic. The first time, Lott presented a series of graphs
        to the National Academy of Sciences, which David Mustard, one of Lott’s allies, then decided to
        include in a comment for a 2003 Brookings Institute book. When Donohue demonstrated the results
        were the product of fatal coding errors, Lott’s ally was forced to withdraw those graphs from the book.
        Also in 2003, Lott supported (and initially co-authored) a paper appearing in the Stanford Law Review
        by Plassman and Whitley that also appeared to support the more guns, less crime hypothesis. Again,
        Donohue proved that their results were based on coding errors, undermining the authors’ central claim.

The discussion here regarding the Stanford Law Review paper by Plassmann and Whitley simply repeats what
DeFilippis and Hughes already mentioned (see point 2 above). Repeating this point a second time doesn’t make it
any more accurate.

As to the claim about David Mustard, there was a minor mistake, but it did not alter his results. The editors of the
Brookings Institute book were gun control supporters and would not allow Mustard to make the simple corrections
that he asked to make.

11) DeFilippis and Hughes’ claims about gun-free zones are very confusing. They point to two cases in which
I was supposedly wrong about permitted concealed handguns being banned. Those two cases were the
Umpqua Community College and Yoyito Cafe-Restaurant shootings. They write:

        After the mass shooting at a gay nightclub in Orlando, Florida in June, Lott published a piece in which
        he wrote, “Since at least as far back as 1950, all but three U.S. mass public shootings (with more than
        three fatalities) have occurred in places where citizens are not allowed to carry their own firearms.”

        This claim has been a staple for Lott, who has repeated it in various forms in numerous articles,
        usually phrasing it as areas “where citizens were banned from carrying guns.” To support his
        contention, Lott cites his own report analyzing different aspects of mass shootings.

        However, what Lott repeats in public is quite different from what his report actually shows. While
        Lott’s public statements equate gun-free zones with areas that prohibit concealed carry, his mass
        shooting report expands the gun-free zone definition to include areas where Lott feels it might be
        difficult to obtain a permit or where there might not be many permit holders despite being able to
        legally carry. Indeed, Lott admits in the report that more than six mass public shootings in the past six
        years have occurred in areas that legally allow citizens to carry their firearms, a direct contradiction of
        his public statements.

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        And not only does Lott mischaracterize his own research, but the research itself is also filled with
        significant errors.

Umpqua Community College shooting:

For those questioning whether the community college is a gun-free zone, here is a statement from the recent, past
President of the college. From the New York Daily News (October 3, 2015):

        But Joe Olson, the former president of Umpqua, said he decided to keep the campus gun-free last year
        after a campus-wide debate. . . .

The Register-Guard newspaper in Eugene, Oregon has this from the Interim community college President Rita
Calvin (link broken):

        Interim community college President Rita Calvin said security officers are on campus around the
        clock, but are not armed. The campus is a gun-free zone. . . .

Yoyito Cafe-Restaurant shooting:

Bloomberg’s Everytown group mentions that people with permitted concealed handguns aren’t allowed to carry
permitted concealed handguns in restaurants that get 50 percent of their revenue from alcohol. However,
Everytown didn’t actually check whether that was the case for this restaurant, which at the time was apparently a
very popular venue for parties serving alcohol. If Bloomberg’s group had checked, they would have found that it
was a gun-free zone. The organization of the bar in the center of the restaurant is also important for this
determination.

12) The Taylor Woolrich story.

DeFilippis and Hughes’ claim:

        “Dear Dartmouth, I am one of your students, I am being stalked, please let me carry a gun to protect
        myself” read the headline of a piece on Fox News in August 2014.

        The first person account was a harrowing story about teenager Taylor Woolrich’s desperate attempts to
        escape and protect herself from a persistent stalker who was ruining her life. The article blasted
        Dartmouth for not allowing her to carry a gun, and noted that carrying a gun was the only way she
        could remain truly safe.

        The story quickly went viral, and is one that’s still brought up by right-wing gun activists. But
        Woolrich didn’t actually write the article. . . .

Taylor Woolrich wrote up a several thousand word description of what had occurred in her stalking case. She didn’t
want the op-ed to be simply her personal story. As an economics major, she also wanted references to empirical
studies. So, she and I worked together on a piece that was published in the Daily Caller. I included references to
empirical work and helped cut down the piece to the length of an op-ed.

Here is what was posted on the Crime Prevention Research Center website after the above Buzzfeed story was
published in August 2015.

        Last August, Taylor Woolrich was the first speaker at our conference for Students for Concealed
        Carry. Her tragic story about a woman who was being stalked and her desire to be able to defend
        herself received a lot of media coverage. In a piece at Buzzfeed last night and today, there is a story up
        about how John Lott supposedly put pressure on Taylor Woolrich to have an op-ed at Fox News. From
        Buzzfeed:

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        [beginning of quote] Lott and Rebekah Riley, who was CPRC’s director of communications at the time
        but no longer works there, had encouraged Woolrich to tell her story to journalists — but, they say,
        warned her of the implications of telling it. On the day of the conference, Woolrich also booked
        an interview on her own with a reporter from the BBC. Later, when she told Lott about the BBC, he
        became “extremely, inappropriately pushy,” she says, “controlling and kind of snappy.” Woolrich
        chalked it up to Lott disagreeing with the BBC’s political leaning. (Lott denies this and says he would
        have been “extremely happy” for Woolrich to get such a “big hit” as the BBC.) Taylor decided that
        when she returned to California, she would cut off contact with him.

        Then Fox News decided to publish the op-ed after all, but only, according to Lott, if it came directly
        from Woolrich. They needed it immediately. When she said she didn’t have time to write a new piece
        from her first-person perspective, Lott offered to do it instead and Woolrich agreed. “I don’t know if I
        should just say yes and not piss him off,” she remembers worrying.

        The piece incorporated elements of her talk at the conference, but otherwise it was the essentially the
        same article written by Lott, which is still online at the Daily Caller. “It’s his op-ed,” she says. “Word
        for word, except the chunks that match what’s said in my speech.” The references to Lott’s disputed
        research? Not hers. The link to the Amazon sales page for his book? Not hers. The headline? “Dear
        Dartmouth, I am one of your students, I am being stalked, please let me carry a gun to protect myself.”

        “I think his first priority was his cause,” she says. “He saw me as a really great asset.” . . .

        “It’s not like John Lott held a gun to my head and told me to talk to the media,” Woolrich says. “I
        wanted to talk to the media, if it could mean something positive. But I wanted to talk to the media
        about stalking.” In response to the flurry of interview requests, she changed her number and did not
        return Lott’s or Riley’s messages. . . . [end quote]

        But Buzzfeed’s writer, Madison Pauly, and editor Anita Badejo, simply ignored text exchanges Lott
        sent them that he had with Taylor — and those exchanges tell a different story from what their piece
        presents. The texts show that Taylor appeared enthusiastic to have Lott’s help in getting her story out,
        and that she approved the story to run on Fox News. Just a few of Buzzfeed’s omissions and errors:

        Buzzfeed didn’t mention Taylor’s text to Lott on August 6th, in which she wrote “I am totally okay
        with you submitting it [the Fox News article].”

        Buzzfeed ignored that Taylor wrote Lott texts such as “I would love to get my story out there and be
        able to turn this whole mess into some sort of positive” and “I am happy that NYC [media appearance]
        is working out!”

        Buzzfeed ignored emails in which Taylor wrote Lott things like, “thanks again for all your work on
        this” — in reference to the additions he had made to her draft op-ed.

        Even worse, Buzzfeed’s Pauly and Badejo committed journalistic malpractice by failing to inform
        readers that what Taylor told them changed over time. When reporter Madison Pauley first emailed
        Lott, she wrote him indignantly, “Richard Bennett victimized Taylor by taking control away from her
        [Taylor]. If, as Taylor says, she neither wrote nor approved the final version of the op-ed that bears her
        byline, more control was taken from her —control over the way she tells her story. This would mean
        that a victim’s story was spun, without her consent, for political/personal gain and falsely attributed to
        her.”

        After Lott sent Pauly the text Taylor had sent him (“I am totally okay with you submitting it”), Pauly
        wrote, “I’ll get back to you after I think about this for a few days.”

        Lott then didn’t hear anything for months, until this week, when Buzzfeed editor Anita Badejo reached
        out. After Lott told her about the text in which Taylor said “I am totally okay with you submitting it,”
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        Badejo responded to Lott that Taylor “completely refutes that she sent the text in which she gave you
        permission to submit the article, and questions its authenticity.”

        After Lott offered to show the text to Badejo in person, or have a tech expert of their choosing come to
        Lott’s office and verify that it is real, Badejo then insisted that it was not relevant. Yet, in the version
        of the article that finally appeared, Taylor’s story changed dramatically: she now claimed that she had
        given permission for the op-ed, but that she had done it because she did “not [want to] piss [Lott] off.”

        Not relevant? Couldn’t Buzzfeed leave that to their readers to decide?

        Lott worked with Taylor in good faith to help get her story out. It is a shame, but no surprise, that
        Buzzfeed sees the need to paint an organization that did its best to help her get her speak out as the
        villain. It’s worth considering: If, a year from now, Taylor were to change her mind again and be
        dissatisfied with the way Buzzfeed handled things; would it be fair to say that Buzzfeed used her as a
        tool to try to discredit people they don’t like? No, it would not — yet that is what Buzzfeed is doing to
        Lott here.

        Buzzfeed certainly has an axe to grind. In their article, they underplay Lott’s previous interactions with
        Jonah Perretti, the founder and CEO of Buzzfeed. Perretti had impersonated Lott during 2003, setting
        up a website “AskJohnLott” and sending out a lot of emails under Lott’s name that pretended Lott had
        changed his mind on gun issues. After being sued for the impersonation, Perretti issued an apology,
        took down the website, and also took down a similar site where he was impersonating another person,
        Jeff Goldblatt.

        There are many other errors in the piece, but we hope this incident will at least give the public a better
        idea of how Buzzfeed and its founder like to operate.


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The War On Guns: Arming Yourself Against Gun Control Lies




More Guns, Less Crime (University of Chicago Press, 3rd ed, 2010)




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Freedomnomics, see Chapter 4 for a general overview of the economics of crime




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        WOMEN AND GUNS

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For press inquiries please contact John Lott at johnrlott@crimeresearch.org or (484) 802-5373 or Nikki Goeser at
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     0034
1/20/2021                                                Response to Malkin's Op-ed


   Below is Malkin’s op-ed with commentary by me (my comments are
   indented and in italics and start at the bottom of the page with the
   numbered responses corresponding to the numbers in the supporting                  Home
   document). (Note that two other discussions on this issue have been
   posted since February 2003 and involve a general discussion of the two             Johnlott.org (description of book,
                                                                                      downloadable data sets, and discussions of
   other polls that ask about brandishing that have been done over the                previous controversies)
   previous two decades as well a response to other attacks are available at
   the bottom of the page found here.) Despite being sent this information            Academic papers:
   several times, she has not responded to any of these points. Steve
   Malzberg and Karen Hunter, co-hosts of a morning drive time show on                Social Science Research
   WWRL (1600 AM) in New York, offered to let Malkin discuss these                    Network
   claims with me on the air, but she was unwilling to participate. It is
   disappointing that she will make allegations in print and on radio shows,          Book Reviews:
   but that she is unwilling to defend these assertions when I am present.
                                                                                      For a list of book reviews
   The general evidence for the survey is available here. The beginning of
                                                                                      on The Bias Against Guns,
   that document provides a brief abstract of the primary points.
                                                                                      click here.
   An overview of the evidence is this: A) The survey was redone and the
   redone somewhat smaller survey produced similar results. In fact that              ---------------------------------
   survey data was already available at www.johnlott.org when Malkin                  List of my Op-eds
   wrote her piece.                                                                   ---------------------------------
   B) The survey results in the single paragraphs in the two books where I
   have referenced this survey data was biased against the claim that I was
   making. I argued that the simple defensive brandishing or warning shots
                                                                                      Posts by topic
   are not news worthy. The higher the rate of defensive brandishing or
   warning shots, the easier it is to explain why the media is not biased             Appalachian law school
   when it doesn't cover most defensive gun uses. If I wanted to show that            attack
   the media was more biased, I should have used the surveys with lower
   defensive brandishing rates. I have also explained why the length of the           Baghdad murder rate
   time people are asked to recall events over can explain the difference in
   the four surveys on brandishing that have been done over the last twenty           Arming Pilots
   years (two designed by me and two by Gary Kleck).
   C) Two people who took the survey have said that they took it. One                 Fraudulent website
   person, James Hamilton, was interviewed by Professor Jeff Parker at                pretending to be run by me
   GMU. As to the second person who took the survey, James Lindgren
   claims that David Gross took a different 1996 survey, but Gross's                  Ayres and Donohue
   statements as well as the survey data from the 1996 survey indicate that
   Gross took my 1997 survey. The data from the 1996 survey is available              Stanford Law Review
   from me or from the ICPSR under Hemenway's name. Other people were
   able to confirm various other aspects, such as the timing of when the              Mother Jones article
   survey was done and that I talked to people at the time of the survey. I
   have also supplied my tax records from 1997 to Joe Olson a tax law                 Vin Suprynowicz quote
   professor and other professors that show large payments for research
   assistants. Many others have confirmed many other aspects of what                  Links
   happened.
   Bottom line: Science involves replication and I have always made my                Craig Newmark
   data available to others. In this case, I redid the survey and made that data
   available to anyone who wants access to it.                                        Eric Rasmusen
   The other Lott controversy                                                         William Sjostrom
   Michelle Malkin
   February 5, 2003                                                                   Dr. T's EconLinks.com

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   For those few of us in the mainstream media who openly support Second               Interview with National
   Amendment rights, research scholar John Lott has been -- or rather, had             Review Online
   been -- an absolute godsend.
                                                                                       Lyonette Louis-Jacques's
   Armed with top-notch credentials (including stints at Stanford, Rice,               page on Firearms
   UCLA, Wharton, Cornell, the University of Chicago and Yale), Lott took              Regulation Worldwide
   on the entrenched anti-gun bias of the ivory tower with seemingly
   meticulous scholarship. His best-selling 1998 book, "More Guns, Less                The End of Myth: An
   Crime," provided analysis of FBI crime data that showed a                           Interview with Dr. John
   groundbreaking correlation between concealed-weapons laws and                       Lott
   reduced violent crime rates.
                                                                                       Cold Comfort, Economist
   I met Lott briefly after a seminar at the University of Washington in               John Lott discusses the
   Seattle several years ago and was deeply impressed by his intellectual              benefits of guns--and the
   rigor. Lott responded directly and extensively to critics' arguments. He            hazards of pointing them
   made his data accessible to many other researchers.                                 out.
   But as he prepares to release a new book, "Bias Against Guns," next                 An interview with John R.
   month, Lott must grapple with an emerging controversy -- brought to the             Lott, Jr. author of More
   public eye by the blogosphere -- that goes to the heart of his academic             Guns, Less Crime:
   integrity.                                                                          Understanding Crime and
                                                                                       Gun Control Laws
   The most disturbing charge, first raised by retired University of
   California, Santa Barbara professor Otis Dudley Duncan and pursued by
   Australian computer programmer Tim Lambert, is that Lott fabricated a               Some data not
   study claiming that 98 percent of defensive gun uses involved mere                  found at
   brandishing, as opposed to shooting.
                                                                                       www.johnlott.org:
   When Lott cited the statistic peripherally on page three of his book, he
   attributed it to "national surveys." In the second edition, he changed the          Updated Media Analysis
   citation to "a national survey that I conducted." He has also incorrectly           of Appalachian Law
   attributed the figure to newspaper polls and Florida State University               School Attack
   criminologist Gary Kleck.
                                                                                       Since the first news search was
            1) The reference to the survey involves one number in one sentence         done additional news stories have
            in my book. Compared to the 98 percent number there was an                 been added to Nexis:
            earlier survey by Kleck that found 92 percent of defensive gun uses
            involved brandishing and warning shots and because the survey              There are thus now 218 unique
                                                                                       stories, and a total of 294 stories
            was asking people about events that occurred over a long period of
                                                                                       counting duplicates (the stories in
            time it is likely that it over emphasized more dramatic responses.         yellow were duplicates): Excel
            (My number that is directly comparable to the 92 percent estimate          file for general overview and
            is about 99 percent.) My point in the book was that defensive gun          specific stories. Explicit
            use rarely involves more “newsworthy” events where the attacker            mentions of defensive gun use
            is killed and either survey would have made the general point. A           increase from 2 to 3 now.
            general discussion of the different methodologies is provided here.
                                                                                       Journal of Legal Studies
             I never attributed my survey results to Kleck. What happened was          paper on spoiled ballots
             that Dave Kopel from the Independence Institute took an op-ed that        during the 2000
             I had in the Rocky Mountain News and edited it for his web site. In       Presidential Election
             the editing he added the incorrect reference to Kleck. (Statements
             from Kopel and others are provided in the supporting documents ).         Data set from USA Today,
             The two pieces are identical except for the reference to Kleck. As to     STATA 7.0 data set
             the claim that I attributed the number to newspaper polls, that
             claim involves a misreading of two different sentences in an op-ed        "Do" File for some of the
             (see the material addressed in the second half of the link to point       basic regressions from the
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            (1)). As to using the plural, that was an error. Given the years that       paper
            have passed since I wrote the sentence, I cannot remember exactly
            what I had in my mind but the most plausible explanation is that I
            was describing what findings had been generated by the polls, in
            other words I was thinking of them as a collective body of research.
            I had been planning on including more of a discussion on the
            survey in the book, just as I have in my book that came out early
            this year, but I had a hard disk crash (see response (2)) and I lost
            part of the book along with the data.

            More importantly, the survey results that I used were biased
            against the claim that I was making. The relevant discussions in
            both of my books focus on media bias and the point was that the
            lack of coverage of defense gun uses is understandable if most uses
            simply involve brandishing where no one is harmed, no shots fired,
            no dead bodies on the ground, no crime actually committed. If
            others believe that the actual rate of brandishing is lower and I had
            used the results of Kleck, it becomes MORE difficult to explain the
            lack of news coverage of defensive gun uses. The two short
            discussions that I have on this issue in my two books thus choose
            results that are BIASED AGAINST the overall point that I am
            making, that the media is biased against guns.

            Some issues involving the source for Malkin's claims can be found
            here, here, and here.

   Last fall, Northwestern University law professor James Lindgren
   volunteered to investigate the claimed existence of Lott's 1997 telephone
   survey of 2,424 people. "I thought it would be exceedingly simple to
   establish" that the research had been done, Lindgren wrote in his report.

            Unfortunately, Malkin fails to mention that Lindgren is not an
            unbiased observer since I had written a journal article in Journal
            of Law & Politics critiquing some of his work months before he
            "volunteered to investigate" these claims.

   It was not simple. Lott claims to have lost all of his data due to a
   computer crash.

            2) As to the “claim” that I lost my data in a computer crash on
            July 3, 1997, I have offered Malkin the statements from nine
            academics (statements attached), four of whom I was co-authoring
            papers with at the time and who remember quite vividly also losing
            the data that we had on various projects. David Mustard at the
            University of Georgia spent considerable time during 1997 helping
            me replace gun crime data. Other academics worked with me to
            replace data on our other projects. Just so it is clear, this computer
            crash basically cost me all my data on all my projects up to that
            point in time, including all the data and word files for my book,
            More Guns, Less Crime, and numerous papers that were under
            review at journals. The next couple of years were hell trying to
            replace things and the data for this survey which ended up being
            one sentence in the book, was not of particular importance.
            However, all the data was replaced, including not only the large

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            county level data, the state level data, as well as the survey data,
            when the survey was redone.

   He financed the survey himself and kept no financial records.

            * Unlike many academics, I have never asked for government
            support for my research. Nothing different or unusual was done in
            this case. While we still have the tax forms that we filed that show
            we made large expenditures on research assistants that year, my
            wife keeps our financial documents for the three years required by
            the IRS. I have provided my tax records from that year to several
            professors. Among them is a tax expert, Professor Joe Olson, at
            Hamline University in Minnesota, and he can verify this
            information. I have checked with the bank that we had an account
            with, but they only keep records five years back. Since wild claims
            have been made about the costs of the survey, some notion of its
            scope would be useful. The survey was structured so that over 90
            percent of those questioned would only have to answer three short
            questions and those were usually completed in under 30 seconds.
            Less than one percent of those surveyed would actually answer as
            many as seven questions and even in that case the survey only took
            about two minutes. The appendix in The Bias Against Guns
            provides a description of the survey when it was replicated.

   He has forgotten the names of the students who allegedly helped with the
   survey and who supposedly dialed thousands of survey respondents long-
   distance from their own dorm rooms using survey software Lott can't
   identify or produce.

            * I have hired lots of student RAs over the years. Since I have been
            at AEI in the last couple of years I have had around 25 people work
            for me on various projects. The students in question worked for me
            during the very beginning of 1997. While I can usually reconstruct
            who has worked for me, it requires that I have that material written
            down. The information on these students was lost in the hard disk
            crash and given that I had lost data for other projects such as three
            revise-and-resubmits that I had at the Journal of Political Economy
            it was not a particularly high priority.

            I don’t have the original CD with telephone numbers from across
            the country that was used to obtain telephone numbers, but I have
            kept one that I obtained later in 1997 when I was considering
            redoing the survey and I still have that available.

   Assuming the survey data was lost in a computer crash, it is still
   remarkable that Lott could not produce a single, contemporaneous scrap
   of paper proving the survey's existence, such as the research protocol or
   survey instrument.

             3) I have statements from two people who took the survey and other
             confirmatory evidence. As to the written material, being asked for
             written material six years after the survey is a long time. After the
             survey was done, the material was kept on my computer. In
             addition, I have moved three times (Chicago to Yale to
             Pennsylvania to AEI) as well as changed offices at Chicago and
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            Yale since the summer of 1997. Yet, besides the statements from the
            academics who can verify the hard disk crash as well as the
            statement of those who participated in the survey, I do have
            statements David Mustard, who I had talked to numerous times
            about doing the survey with me during 1996 and who remembers
            after that us talking about the survey after it was completed. He is
            “fairly confident” that those conversations took place during 1997.
            John Whitley and Geoff Huck also have some recollections. Russell
            Roberts, now a professor at George Mason, was someone else that
            I talked to about the survey, but he simply can’t remember one way
            of the other. I didn’t talk to people other than co-authors about the
            survey and the research that I was doing on guns generally. This is
            because of the often great hostility to my gun work and also
            because I didn’t want to give those who disliked me a heads-up on
            what I was doing. I did have the questions from the survey and they
            were reused in the replicated survey in 2002.

   After Lindgren's report was published, a Minnesota gun rights activist
   named David Gross came forward, claiming he was surveyed in 1997.
   Some have said that Gross's account proves that the survey was done. I
   think skepticism is warranted.

            4) David Gross is the only person who Malkin mentions and she
            doubts his statements. Gross, a former city prosecutor, does have
            strong feelings on guns, but that is one reason why he remembers
            talking to me about the survey when I gave a talk in Minnesota a
            couple of years after the survey. There was no other gun survey on
            the questions that I asked during 1997. And another survey that
            was given close in time, during the beginning of 1996, was
            dramatically different from mine (e.g., the 1996 survey was done by
            a polling firm (not by students), was very long with at least 32 open
            ended questions (not something that could be done in a few
            minutes), involved Harvard (not Chicago), did not ask about
            brandishing, etc.). What Gross remembers indicates that it could
            only have been my survey.

            Malkin also selectively quotes Lindgren. Lindgren told the
            Washington Times that, “I interviewed [Mr. Gross] at length and
            found him credible.” Mr. Gross has also responded to later
            statements made by Lindgren.

            I have also had a second person who participated interviewed by
            Jeff Parker, the former associate dean at the George Mason
            University Law School. Parker interviewed both James Hamilton
            as well as Hamilton's sister, who claims that James told her about
            the interview when it occurred, and he can verify this information.

            Lindgren claimed that Gross had instead answered a quite different
            survey done by Hemenway at Harvard, but when Hemenway finally
            released the data from both his 1996 and 1999 surveys and the age
            and other information about Gross and Hamilton do not match any
            subject interviewed in either survey.

    Lott now admits he used a fake persona, "Mary Rosh," to post
    voluminous defenses of his work over the Internet.
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            * When Julian Sanchez asked about the similarities between my
            writings and those posted under this Internet chat room pseudonym
            during this past January I did admit it immediately. (Sanchez had
            put up a post on his blog site asking for help in identifying someone
            who was cutting and pasting many of my responses from other
            places in chat room discussions. Because a dynamic IP address
            was being used, Sanchez could only identify the posting as coming
            from someone in southeastern Pennsylvania. When I found that he
            was asking for help in identifying the poster I admitted that I was
            using the pseudonym.) I had originally used my own name in chat
            rooms but switched after receiving threatening and obnoxious
            telephone calls from other Internet posters. Ninety some percent of
            the posters in the chatroom were pretty clearly using pseudonyms.
            The fictitious name was from a family e-mail account we had set up
            for our children based on their names (see latter discussion), on a
            couple of occasions I used the female persona implied by the name
            in the chat rooms to try to get people to think about how people
            who are smaller and weaker physically can defend themselves.
            Virtually all the posting were on factual issues involving guns and
            the empirical debates surrounding them. All that information was
            completely accurate.

   "Rosh" gushed that Lott was "the best professor that I ever had."

            *This was a family email account and I was not the only person
            who posted using this account.

   She/he also penned an effusive review of "More Guns, Less Crime" on
   Amazon.com: "It was very interesting reading and Lott writes very well."
   (Lott claims that one of his sons posted the review in "Rosh's" name.)

            *The e-mail account was set up by my wife for my four sons
            (Maxim, Ryan, Roger, and Sherwin in birth order) and involves the
            first two letters of each of their names in order of their birth.
            Maxim wrote several reviews on Amazon.com using that e-mail
            account and signed in using maryrosh@aol.com, not “Mary
            Rosh.” His posting included not only a review of my book, but also
            reviews of computer games such as Caesars III.

            For whatever it is worth, a recent glich at Amazon.com revealed
            that it is quite common practice for authors to actually write
            positive anonymous reviews of their own books. The New York
            Times story on this revelation was actually quite sympathetic,
            which contrasts with the attack that the New York Times had on me
            when it also incorrectly claimed that I had written the review of my
            book.

   Just last week, "Rosh" complained on a blog comment board: "Critics
   such as Lambert and Lindgren ought to slink away and hide."

   By itself, there is nothing wrong with using a pseudonym. But Lott's
   invention of Mary Rosh to praise his own research and blast other
   scholars is beyond creepy. And it shows his extensive willingness to
   deceive to protect and promote his work.

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            *It would have been helpful if Malkin had actually read the text of
            what I wrote.

   Some Second Amendment activists believe there is an anti-gun
   conspiracy to discredit Lott as "payback" for the fall of Michael
   Bellesiles, the disgraced former Emory University professor who
   engaged in rampant research fraud to bolster his anti-gun book, "Arming
   America." But it wasn't an anti-gun zealot who unmasked Rosh/Lott. It
   was Internet blogger Julian Sanchez, a staffer at the libertarian Cato
   Institute, which staunchly defends the Second Amendment. And it was
   the conservative Washington Times that first reported last week on the
   survey dispute in the mainstream press.

            *The January 23rd story in the Washington Times could not
            accurately be described as a negative story. Professor Dan Polsby
            is quoted as saying that I was “vindicated.” Even Lindgren, a critic
            whose academic work I have criticized in the past (Journal of Law
            and Politics, Winter 2001), is characterized by the Times as
            believing that “ the question appears to have been at least partially
            resolved . . . “ and he did say that David Gross was a credible
            witness.

   In an interview Monday, Lott stressed that his new defensive gun use
   survey (whose results will be published in the new book) will show
   similar results to the lost survey. But the existence of the new survey does
   not lay to rest the still lingering doubts about the old survey's existence.

            *She never asked me any questions about whether the old survey
            was done.

   The media coverage of the 1997 survey data dispute, Lott told me, is "a
   bunch to do about nothing."

            *This quote is totally taken out of context. Some people had
            accused me of violating federal regulations regarding federal
            approval for human experiments while I was at Chicago. Malkin’s
            telephone call focused on that claim, and that is what my quote
            referred to.

   I wish I could agree.

             I spent years replacing the data lost in the hard disk crash. The
             county level crime data was replaced and given out to academics at
             dozens of universities so that they could replicate every single
             regression in More Guns, Less Crime. I have also made the data
             for my other book The Bias Against Guns available at
             http://www.johnlott.org/cgi-bin/login.cgi . The data for my other
             reserach has also been made available. The survey was also
             replicated and obtained similar results to the first survey and the
             new data has been made available since the beginning of the year.
             When asked I have even made my data available before the
             research was published. I don't think that there are any academics
             who have had a better record then I have in making my data
             available to other researchers. For an example of just on of my
             recent critics who has refused to share his data see here . I have
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            provided Malkin with the information noted here, but she has never
            replied to e-mails that I have sent her.




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                                       https://nyti.ms/29uJMwU



Florida Gunman Kills 8 And Wounds 6 in Ofﬁce

By Ronald Smothers, Special To the New York Times

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A man sprayed dozens of rounds from a semiautomatic riﬂe through the ofﬁce of a ﬁnance
company here today, killing eight people and wounding six others before shooting himself to
death.

Witnesses said the gunman, identiﬁed by the police as James E. Pough, 42 years old, of
Jacksonsville, did not speak and immediately began shooting as he walked into the
suburban ofﬁces of the General Motors Acceptance Corporation about 10:45 A.M.

Sheriff James E. McMillan said witnesses told investigators that the man walked through
the ofﬁce, where more than 85 peopled worked, ﬁring rapidly, then pausing and ﬁring some
more. At times, they said, he deliberately aimed at workers who had taken cover.

One employee, Richard Langille, said: ''And then we realized the guy was pointing his gun
underneath people's desks and killing them one by one. I just saw the bottom of the carpet
and just prayed.''

Slaughter and Silence

Another employee, Audrey Hennessey, said: ''It wasn't random, and it wasn't continuous. It
wasn't pandemonium, and at the end we didn't know it was over, because there were
silences all through the shooting.''

While some workers took cover, others ﬂed out the back door.

Charles Medlin, the building manager at nearby Reichhold Chemicals, saw a women lying
on the grass outside after the shooting and ran over to help.

''She was lying there calm with a stomach wound and a chest wound and just said: 'Jesus,
don't take me now. I'm not ready to go,' '' Mr. Medlin said. The gunman was armed with a
.30-caliber assault-style semiautomatic riﬂe, a weapon that ﬁres a round with each trigger
squeeze and whose magazine typically can hold 30 rounds of ammunition. He also carried a
.38-caliber revolver. Sheriff McMillan said that only one shot had been ﬁred from the
revolver, but as many as 28 rounds had been ﬁred from the riﬂe.

''When it looked like he had no one else to shoot, he apparently turned the gun on himself,''
said the sheriff.

Implicated in Earlier Killings                                          0045
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There were early reports that Mr. Pough had been angered over the loan ofﬁce's
repossession of his 1988 Pontiac. But the sheriff said later that the repossession had
occurred six months ago and it was not clear that was what set off the shootings.

''But it does appear that over the last few days he was out to hurt somebody,'' said Sheriff
McMillan.



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Sheriff McMillan said Mr. Pough had been ''positively identiﬁed'' by witnesses as the killer
of a man and woman in separate shootings early Sunday. Louis Carl Bacon, 39, and Doretta
Drake, 30, were walking through a northwest section of Jacksonville, near where Mr. Pough
lived, and were killed with the same .30-caliber riﬂe he used today, the sheriff said.

Sheriff McMillan said that he had little information on Mr. Pough (pronounced PEW) and
that investigators were interviewing his relatives and friends. It was not immediately
known where Mr. Pough worked or whether he was married.

Soon after the shootings today, the police learned from their own records that Mr. Pough
was a convicted felon. He was arrested for murder in 1971, later pleaded guilty to
aggravated assault and was sentenced to ﬁve years' probation.

Registered His Handgun

Despite his record, the authorities said, Mr. Pough had purchased the .38-caliber revolver
and gone through the process of registering it with the police.

Mr. Pough had apparently lied on the purchase form about whether he had been convicted
of a felony. Under state law, convicted felons are not allowed to own ﬁrearms.

Mr. Pough's possession of the semiautomatic riﬂe, while also illegal, would not necessarily
have come to the authorities' attention, since shoulder weapons, unlike handguns, do not
have to be registered.

While the assault riﬂe used in the shooting does not come under President Bush's 1989 ban
on foreign-made assault weapons, since it was manufactured by the Universal Corporation,
an American concern, it would be banned under a bill now pending in Congress that does
cover domestically manufactured assault riﬂes.

Battleﬁeld Efﬁciency
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''These are military weapons that are very efﬁcient on the battleﬁeld, and if you use them in
a G.M.A.C. ofﬁce you are going to get the same effect,'' said one Democratic Congressional
aide who did not want to be named. ''One of the ones sold is called a 'street sweeper,' and it
isn't called that because people use it to shoot moose.''

The shooting is certain to revive the debate over ownership of guns in general and assault
weapons in particular. Some gun proponents say that further restrictions on ownership
would curb citizens' rights without cutting crime. Those on the other side of the issue say
that assault weapons - distinguished from hunting ﬁrearms by their larger ammunition
capacities, among other things - are coveted by the criminal and the unstable, not by true
sportsmen.

The police said there were no records indicating where or when Mr. Pough purchased the
semiautomatic riﬂe or a .9-millimeter pistol found later in the car he had driven to the ofﬁce.

Back and Forth on Controls

Like most states in the region, Florida has few restrictions on gun purchases. For a brief
period in 1987, a new law allowed virtually anyone to carry a gun openly, until corrective
legislation closed the loophole. Until three years ago, ﬁrearm regulation was the province of
counties, and most of those in the northern part of the state passed no controls at all.

But in 1987, the State Legislature removed gun registration from county control and
established a statewide system to prevent people from purchasing guns in one county that
had virtually no controls and then transporting them to another county that did have some
regulations.

Inside the ﬁnance ofﬁce, the police found several riﬂe clips, some empty and some full.
''There's numerous magazines, plus numerous rounds in his pockets,'' said Deputy Ken
Bozeman.

Sheriff McMillan said Mr. Pough also had a .357-caliber magnum registered to his name, but
no information was given on that weapon's location.

The .38-caliber revolver used in the shootings was registered June 4, 1979, Sheriff McMillan
said.

Five ofﬁce employees, a customer and the gunman were dead at the scene, said John
Andrews, a company spokesman in Detroit. Two other employees died at hospitals.

In addition to Mr. Pough, the dead were identiﬁed as Drew Woods, Denise Highﬁll, Janice
David, Sharon Louise Hall, Barbara Duckwall Holland, Julia White Burgess, Lee Simonton,
and Cynthia Perry.
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Mrs. Hennessey, one of those who hid in the ofﬁce today, said she now knows ''how it feels to
have your life hanging from a thread.''

''Now I know how very precious life is and just how easily it can be taken away from you,''
she said.




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